Case 3:25-cv-02225-MMC Document 8

Anthony D. Prince (SBN # 202892)

General Counsel, California Homeless Union
Law Offices of Anthony D. Prince

2425 Prince Street, Ste. 100,

Berkeley CA, 94705

Ph. 510-301-1472

Email: princelawoffices@yahoo.com

Andrea M. Henson (SBN # 331898)
Where Do We Go

2726 Martin Luther King Jr Way,
Berkeley, CA 94703-2146

Phone: 510-999-9394

Email: ahenson@wdwg.org

Attorneys for Plaintiffs/Petitioners

Filed 03/05/25 Page 1 of 62

UNITED STATES COURT

DISTRICT OF NORTHERN CALIFORNIA

The CALIFORNIA HOMELESS
UNION/STATEWIDE ORGANIZING
COUNCIL, on behalf of itself and its members;
FREMONT HOMELESS UNION, on behalf of
itself and its members; MARIN COUNTY
HOMELESS UNION;MISSION PEAK
UNITARIAN UNIVERSALIST
CONGREGATION; FAITH IN ACTION
EAST BAY; PAX CHRISTIE (FREMONT);
BRAIDED BRIDGE/HOMEBRIDGE
CONNECT; Fremont homeless community
members KENT EATON: CORRINE
GRIFFITH; MICHAEL AUSTIN, MAURICE
KING, PRODESTA HOFF, LACEY FRANKS,
and all those similarly situated.

Plaintiff,
vs.

CITY OF FREMONT,

Defendant

Case No.:

EX-PARTE APPLICATION and VERIFIED
COMPLAINT FOR INJUNCTIVE RELIEF
for VIOLATIONS OF 42 USC § 1983, FIRST,
FIFTH and FOURTEENTH AMENDMENT
to the United States Constitution:
VIOLATION of the RELIGIOUS LAND USE

| AND INSTITUTIONALIZED PERSONS

ACT (“RLUIP”); RELIGIOUS FREEDOM
RESTORATION ACT(“RFRA”);
CALIFORNIA CONSTITUTION, ART. I, § §
I AND 7; AMERICANS WITH
DISABILITIES ACT (“ADA”) and for
DECLARATORY JUDGMENT FINDING
CITY OF FREMONT CODE CHAPTER 8.90
et seq, 8.90.030 UNCONSTITUTIONAL
AND FACIALLY INVALID

PAGE |
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 2 of 62

TABLE OF CONTENTS

EN TRODUC TION ssrscccospencnonnasmacnenpaanedecsasssa sua neaneen aren Ua ROereNNES eT 2
BACKGROUND AND STATEMENT OF PACTS: «: xsssccnncesomunreeersaamenareeeemeeeaeee 3

FUL vce cecmncemenenemeeemem men acmucnscnmmaeonnmennae ommraoraemmnmemesemmenrnaeemes pam aenTEenermnanmemtte 6
JURISDICTION AND VENUE vwcccscscsersnsssmerscescsearevwcasanerasentsnwsiensievenesersneeuswsenss 1]
DIVISIONAL ASSIGNMENT ovcccssrecwsssrwawiaseciceuauuesers son eemeeearsraRe es NET MERIT 12

STANDING FOR PRE-ENFORCEMENT CHALLENGE. .............cccccceseeeeeeeeeeeeneeeenes 12
LEGAL STANDARD FOR INJUNCTIVE RELIEP........ 0... ..cccccececec eee ee eee ene nese eens neers 16
SERIOUS QUESTIONS GIOENG TO CHE MERE YS vcsicws ccsnwiensncmnencacennonae sens smineneaeatine L
IMMIENT AND IRREPARABLE HARM, sscssssvissncrssanvcssaccevesavisieasvanesecnsesiedevavewsvis 18
BALANCE OF EQUITES TILTS SHARPLY TOWARD PLAINTIFFS.............c0ceccseeeeees 19
PUBLIC INTERES Dn ccsscescascnsencsnsaneccennsenesessenasucneseoneempeaensansensenasmecneneemenssnees 20
CONIC LL UB N vacsasccexsaxemenamesienonaian ie Kei NSEC een SNR LATER 21
LEGAL CLAIMS tcscsewrssscsaessaseuwwsnsacosaesanseuasmarvexasiwaneenavenaeameaNTT zl
PRAYER POR REMI vscscsscscccuwesswaw enn cacwcaven ua sanaeeaseysensauniaap uence eueveaeaeaENs 48

VERIFICATION 48
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 3 of 62

TABLE OF AUTHORITIES

FEDERAL CASES

A.C.L.U. of Nev. v. City of Las Vegas, 466 F.3d 784 (9th Cir. 2006) .........cccsssseencesscveceeeees 38
Advocacy Cit. ¥ Mink, 332: F.3d.1101 (Oth. Cit, 2003) sisscciciwverensessnrsensiecavsweersseaceeevwen 13
Alfred v City of Vallejo 2:24-cv-03317-DC-SCR 999 (E.D. Feb. 7, 2025). .......ccceceeeeeeeeen ees 17
Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127 (9th Cir. 2011)).........c cece cece ee ee eee 16
All. for the Wild Rockies v. Pefia, 865 F.3d 1211 (9th Cir. 2017)........ 0.00... ...ccececeseeeececeeees 17
Am. Unites for Kids v. Rousseau, 985 F.3d 1075 (9th Cir. 2021)....... 0 cece ccc c eee e eee eeeeeeeeeeeees 13

Associated Gen. Contractors of Cal., Inc. v. Coal. of Econ. Equity, 950 F.2d 1401 (9th Cir. 1991)

a 18
Babbitt v. United Farm Workers Nat'l Union, 442 U.S. 289 (1979).........cccceeceeensecesenaeeeaes 12
Bloom y. City of San Diego, 2018 WL 9539238, at *3 (S.D. Cal.)...... ccc cece eeecee ences eeeeeeeneees 28
Cincinnan v.. Discovery Network: Inc., 507 US. 410. (1993) ssvcsvvseccsenusveveseavexecsneerevavanes 38
Chambers v: sin: Court, 65 Cal. App. 3d S904 (197 Nes cecesszsecexevsesasusensoxeeraaieacicsewecs ese 4]

City of Grants Pass v. Johnson, 144 S. Ct. 2202, 219 L. Ed. 2d 941 (2024) coc ccc cece ccc cecceeeee eee 2
City af Lakewood v. Plain Dealer Publ’'Co:, 486 U.S. 750 (1988) sccsssiecscsesessassssscexiaressas 37
Clapper v. Amnesty Int'l USA, 568 U.S. 398 (2013)....... cc ccc eceeeec cee eee cee ese cee eerste ceseeeesrare ened d
Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288 (1984)........ccsscscceseceeeceeeeeseneesenss 38
Cooley v. City of Los Angeles, 2019 WL 3766554, at *6 (C.D. Cal. Aug. 5, 2019)..............08 28

Coal. on Homelessness v. City & Cnty. of San Francisco. 22-CV-05502-DMR, 2022 WL

17905114, at'*20 (N.D. Cal, Det. 23, 2022) siccas cvsnussisaareanarenavisisssauawneeseunianacsaeen 16
Cuadra v. City of South San Francisco, 2010 WL 55875, at *9 (N.D. Cal. Jan. 4, 2010) .........43
Culter'y: WalansonyS44 U.S. '709 (2005) iscccoscessssswavevaweaanwncn winnaar LSB]

Cuviello v. City of Vallejo, 944 F.3d 816 (9th Cir. 2019)... 0... cece ccceccceccesucuesueeeneueusueneete 4]
CytoSport, Inc. v. Vital Pharm., Inc., 617 F. Supp. 2d 1051 (E.D. Cal. 2009) aff'd, 348 F. App’x
BS a scans wnennanatns exexusacenwatninNes kiana sa ele aiva tewaNNNts KearRbenre TeARUNNCARUSERTERER LEE RECEN TERRES NSEO HERES 19
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 4 of 62

Desert Outdoor Adver., Inc. v. City of Moreno Valley, 103 F.3d 814 (9th Cir. 1996)............06 39
Dulereyy. Maa: Court, 1 Calc3d'Tt C979) cessor cnr 4]

Fort Lauderdale Food Not Bombs v. City of Fort Lauderdale, 901 F.3d 1235 (11th Cir. 2018)..35

Frisby 4 Semi, 487 U5: 4741 968) ccseesvesercerecmesvsexeseveun tarwuntuatnouanpiaypeveninaeene 35
Fulton v. City of Phila., 141 S. Ct. 1868, 210 L. Ed. 2d 137 (2021)....... 0.0 c cece cece cece cece ee 4]
Glendale Assoes:, Lil.v. NERB, 347 F306 1145 Qty Cir, 2003). scnecesseevxsawenis cwvsewnnemvesss 40
Gréene v. Solano Cnty Jail, 513 F.3d. 982 (9th Cir 2008) c.sscccssessssssssssscesscasccavseaveess 15, 30
Grossman vy City of Portland. 33: F.3d. 1200 (SU Cie, 1999) sevccvscxsamscravectiannsiseriensaasnges 34
Hague v. CIO, 307 U.S. 496, 515, 59 S.Ct. 954, 83 L.Ed. 1423 (1939) 2.0... cece cece cece ee eee ees 34

Harbor Missionary Church Corp. v. City of San Buenaventura, 642 F. App'x 726 (9th

CTE 201) cs snsiscasnnneasneuassunas accu uue NRE U NRW eR ENeSEaENS TaNUNGR RN TA NEKEDS Esa RES 15, 31
Heflebower v. U.S. Bank Nat. Ass’n, No. 1:13-cv-1121-LJO-MJS, 2013 WL 3864214, at *18
CED. Cal, Faly 23,2008) cx naveeseamneasenesenvanseencenerenstnesenesenennn seaacurenseanemaameniererenmauens 19
Holloman ex rel. Holloman v. Harland , 370 F.3d 1252 (11th Cir. 2004).....0. 00. cee eee e eee 34
Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977))......cccceccecscescuseeueuse 13
Hurley vy, Irish-American Gay, Lesbian, and Bisexual Group of Boston, Inc., 515 U.S. 557 (1995)
sno STROSS SIR TR AAS Sa ADEE PPAR SPEEA ETE 34
Int'l Soc’y for Arishna Consciousness of Cal., Inc. v. City of Los Angeles, 48 Cal. 4th 446, 456—
DP NROLG ) sssessacesesexsasnaran ca asnnaninud cuagess casas Ree AREER OOOO 41
Jeremiah, 2018 WL 13675 41, *5 (9th Cir. 2009) 2.0.0... cece ccc ececcec cece eeeeeseeseereeneenens 21
Kaahumanu v. Hawaii, 682 F.3d 789 (9th Cir. 2012)............cccecceceeceeceeceeeeeeneeueesenens 37,39
Kasky v. Nike, Inc., 27 Cal. 4th 939 (2002).........cccccccccccccecuececueceneeuveeecneeuueeeuseeuseeenes 40
Kennedy v. City of Ridgefield, 439 F.3d 1055 (9th Cir. 2006)...............ccccecccecccscuceeecusecuss 24
Kincaid v. City of Fresno, 2006 WL 3542732, at *35-37 (E.D. Cal. Dec. 8, 2006)................. 43
Lukumi Babalu Aye, 508 U.S. 520 (1993), 533, 113 S.Ct. 2217.2... cece ce cece eee eneeeeeeensueneues 4]

Masterpiece Cakeshop, Ltd. v. Colo. C.R. Comm'n, 584 U.S. 617, 138 S. Ct. 1719, 1730-32, 201
LBG20 35 (2018) isscccnconswmnceseaeconmansneaysesvaa een eaaneen euauaanes mney nanaasbuenener see 4]

Martinez v. City of Fresno, 1:22-cv-00307-DAD-SAB (E.D. Cal. May. 24, 2022)............ 39, 40
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 5 of 62

MioCulien v: Codey, 373 U:S, 464 (2004) csscsceesreecseeessreannnceagupsmecen 39
Police Dept of Chicago v. Mosley, 408 U.S. 92 (1972)...... ccc cece ccc ec cence cena ena eeneenaenaeeneas 37
Penilla v. City of Huntington Park, 115 F.3d 707 (9th Cir. 1997) 00.0.2... ..cccccececeneeeeesees 25,26
PES Doe 457 US 22 (Ste ccc A 47
Recycle for Change v. City of Oakland, 856 F.3d 666, 670 (9th Cir. 2017)..........ccceceec nsec ees 38
Reed v. Town of Gilbert, Ariz., 576 U.S. 166 (2015) ...... ccc cece cece ccc ceeceeeeeeeeeeeneeenaeenss 35,37
Riley v. Nat'l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 795 (1988)..........cccceseeeeeee ees 39
Sacramento Homeless Union et al v City of Sacramento et al 2:22-cv-01095-TLN-KJN Dkt. No.
39 (August 3, 2023) ..........cccee eee ecescnceeeeenenceceseensececeneseeseneeseseaeececeenseseseateeees 17
Spence v. Washington, 418 U.S. 405 (1974)... 0.0. ccc cc cscs ecececeeceseeseseceseenssueuenseusveneeseuess 34
Stuhlbarg Int'l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001).......... 18
Sinclair vy. City of Seattle, 61 F.4th 674 (9th Cir. 2023)... 00.0 ccce cece ec ec cece ce eececueecuceeusueuce 22
Texas v. Johnson , 491 U.S. 397, 404, 109 S.Ct. 2533, 105 L.Ed.2d 342 (1989)................008 36
United Food & Comm. Workers Union Loc. 751 v. Brown Group, Inc., 517 U.S. 544 (1996). ...13
United States v. Grace, 461 U.S. 171, 103 S.Ct. 1702, 75 L.Ed.2d 736 (1983). .............020ceee 34
U.S. v. Hernandez-Alvarado, 891 F.2d 1414, 1416 (9th Cir. 1989)...... 0... c cece cee ccc eeeeeeeeeens 43
United States v. O’Brien , 391 U.S. 367, 376-77, 88 S.Ct. 1673, 20 L.Ed.2d 672 (1968)......... 34
United Siaies Vv Sevens, 559 US. 4600 (2010 wsccccasesecctaunnigervcramnnnaraaararmeias 36
United States v. Wheeler, 254 U.S. 281 (1920)..........ccccececcesececececeseceeucecesuceuceeuseeaeucens do
Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981) 20... .ccceccceececeeceseceusueeceeeueeseeeuenens 19
Virginia v. Hicks, 539 U.S. 113, 119 (2003)... 0. cece ec ccceceeeecececeueseseseeeeueeeeneneacenenenes 36
Warner v. Village of Ruidoso, 2013 WL 12329081, at *12 (D. N.M. Sept. 30, 2013) ............4 43
Wara \: Rock Against Racism, 491 US./781 (1989) sssiccssiesssscewswwecseeee ese anasdsiviwseceinneons 35
W. Presbyterian Church vy. Bd. of Zoning Adjustment of D.C., 862 F. Supp. 538 (D.D.C. 1994)
UAB Gins Sia AS aaa 0d nde memee neeennnE RRO NNEre RAEN ERNEREE RENE INNO RAMANA OR MC RENNN AE NERER CREE OR KCINRETCMNENONERAENS 31
Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442 ,449 n.6 (2008).............. 36.

Winter v. Natural Res. Def Couneil, Iné., 553 U:8:.7,.20 (2008) vivisscecsewscexsceanecescausess 16, 17
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 6 of 62

FEDERAL CODE

42 U.S.C. § 1983.0... c cece ccc ne nce nc ene ee ee eeeee eee enseseeseseneeseeseneeseeneens 11, 34, 41, 42, 44
ADA S C28 2000 -SS) cscccovencsseserecereweeessepiesee esse eae ATE NR RE 15,31
42 U.S.C. § 2000cc- S(7)(A).. ccc ccc ccc ce cence c cence eee eeeeneeeeeeeneeeeeeeeeeneeeeeaeeaeeeenen 14, 30
ADU SC ES BLES sosccccscsccssunerswuvnans wea eewaeeeneec ever daces saan ve Wawa ieee ITC ERAN ORT 11, 27, 28
FEDERAL REGULATIONS

28 CER: § 35130 (BS MD sco wasnswccceussescsawe eee ce acer ciiee eae EIS 28
FEDERAL RULES

FE Te CAG eee Siew BGAN ERATE ES GTN EES TELAT REESE 16, 17
CA CODE

Cal. Gov. Code § 11135 ...... ccc ccc cceeecee eee eneeeeeee eee eeeeeeneneeaeseeeeeeneeeaeaeneneeaenenss 30
OTHER AUTHORITIES

Cal Crim 401, Judicial Council of California Criminal Jury Instructions (2024 edition).......... 47

Chan J, Riley P, Aguirre R., (2023) SSM -Qualitative Research in Health, Volume 2, Dec.
ies ea arctan asserenemceiecmmrenemamneeeenem einen seem e-pounseeaenaenynnsneoomemunaiennieseenacionenestierae sean neem. 24
NM

tod

Case 3:25-cv-02225-MMC Document®- Filed 03/05/25 Page 7 of 62

INTRODUCTION

1. On February 11, 2025, the City of Fremont, California took a page from one of
the ugliest chapters of American history and made it a crime to help a person escape from the
hunger, violence, dispossession and pursuit by law enforcement that characterizes the daily
existence of that city’s 600 homeless residents.

Pi By adding Chapter 8.90 to its municipal code, Fremont has made it a
misdemeanor, punishable by six months in jail and a $1000 fine, for a person on public property
to merely possess, without more, a tent, bedroll, tarp, sleeping bag or any other item deemed
“camp paraphernalia.” See Fremont Muni Code Chapter 8.90 et seq, 8.90.030. [See Exhibit A].

3. To “Camp” is defined so broadly that it includes not only “plac[ing], pitch[ing] or
occupying” tents, huts vehicles, vehicle camping outfits or temporary shelter but the act of
“liv[ing] outdoors” without more. Even “[m]Joving personal property [from one location on
public property] to another location upon public property” is prohibited.

4, Finally, in what has made nationwide headlines and provoked the most public
condemnation, outrage and consternation — particularly from the faith community and charitable
organizations across the board, is Section 8.90.060, that makes it a crime punishable by six
months imprisonment and a $1,000 fine for “Any person causing, permitting, aiding, abetting or

concealing” violations of the Ordinance. !

'There has been continuing unfavorable nation-wide media attention and widespread opposition
and condemnation by churches, charitable organizations, housing advocates and service providers of
Chapter 8.90, including Section 8.90.060 which imposes criminal sanctions for “aiding,” “abetting” and
“concealing” would-be violators of the Ordinance. Some are calling only for the removal of that part of

the challenged Ordinance. However, even if that were to happen, overarching mandatory requirements
set forth in Fremont Municipal Code Section applying to anything that the City makes unlawful. Fremont

Municipal Code Section 1.10.040 which reads as follows: “Whenever in this code any act or omission is

PAG EQ
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 8 of 62

5. Two hundred years ago, by fleeing bondage, the runaway slaves, “stole”
themselves from their owners, and became, by definition, criminals. Today, it is the homeless
resident of Fremont who has become the criminal, “fleeing” from the cold of winter and extreme
heat of summer that takes the lives of thousands of the unsheltered every year; “fleeing” the
dangers of the unprotected streets and seeking refuge in a tent, car or under a freeway overpass;
fleeing hunger and want by taking the outstretched helping hands of the concerned and the
compassionate who, under this unconscionable enactment, have also been pushed into the ranks
of the hunted and the criminal.

BACKGROUND AND STATEMENT OF FACTS

6. In May 2024, the City of Fremont City Council ratified the Fremont
Homelessness Response Plan (“HRP”), a comprehensive plan for reducing homelessness in the
city. The HRP identified that “Based on the 2022 Alameda County Point-in-Time Count, the
number of people experiencing homelessness in Fremont increased by 69% from 2019, growing
from 608 to 1,026 people. This rate of growth was higher in Fremont than in Alameda County as
a whole, which saw a 22% growth rate during the same period. /d. The purpose of the Fremont
HRP is to offer “a roadmap for addressing homelessness through coordinated and data-driven
solutions that remove barriers to assistance, expand housing opportunities, and improve quality

of life throughout the community.” Jd.

made unlawful, it shall include causing, permitting, aiding, abetting, suffering, or concealing such act or
omission.’

It appears to Plaintiffs, therefore, that the inclusion of these words in the challenged ordinance
was not to restate what is already in the code, but to intimidate, chill and deter those who would otherwise
provide material support and survival items to the homeless. ’

PAGES
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 9 of 62

Vi The HRP has three main goals to guide the City’s strategy. First the City wants to
“(stop the growth of homelessness.” /d. To do so they propose to “[e]liminate the 23% annual
growth rate of people experiencing homelessness by reducing the number of people becoming
homeless and increasing the number exiting to permanent housing.” /d. Second, their goal is to
“[i]ncrease pathways to housing. . . Double the proportion of people who are well served by the
homeless response system, meaning that they are on pathways to housing, stay homeless less
than a year, and do not exit services to unsheltered homelessness.” /d. The last goal intends to
“reduce the impact of unsheltered homelessness” by benefiting “those with and without
permanent homes in Fremont by decreasing the number of people living in unsheltered
conditions and the amount of City resources needed to manage encampment crises.” Jd.

8. According to a Fremont City Council Report published on December 17, 2024 to
support the passage of a new sweeping anti-homeless ban that is the subject of this lawsuit,
Fremont admits that the HRP stated that encampment abatements do not solve homelessness.
“The HRP acknowledges that enforcement, in and of itself, does not resolve individual instances
of homelessness. Mitigation strategies in the HRP include a commitment to refining encampment
response, inclusive of pairing service options with any additional regulations.” Decl. Ex. at p. 1.

9. At that same December 17, 2024 City Council meeting, the City Attorney Office
and City Manager’s Office Staff presented the findings and potential anti-camping ordinance.
Importantly, the City Manager’s Office was at variance with the HRP. correctly pointing out that
funds allocated for preventing homelessness would have to be diverted to enforce the ordinance
stating in the staff report:

“If the Council determines that it will move forward with an anti-camping
ordinance, staff would seek to reallocate and/or enhance associated services

required to successfully implement the camping ban over time, including
allocation of resources as described in the HRP intended to prevent and reduce

PAGE4
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 10 of 62

homelessness. An initial review of potential expenses and unmet needs that would
be generated by implementing a citywide camping ban indicates that the City
would need to consider allocating in excess of one million dollars in ongoing
funding to address... Law enforcement via the addition or reassignment of
community service officers and police officers to respond to encampment
complaints...waste management” /d. at 2.

Staff further cautioned the City Council saying:

“Subject matter experts advise that enforcement activity (such as a camping ban)
will not in and of itself reduce the overall number of homeless people in the City
of Fremont. Encampments that are disbanded without an offer of alternative
shelter will likely cause unhoused individuals to relocate nearby, potentially
resolving concerns in one area of the City while generating new concerns at the
relocation destination.

The City of Fremont’s Homelessness Response Plan details the inverse
relationship between costs associated with homelessness resolution and
prevention and those associated with mitigation. The adoption of a camping
ordinance would provide the City’s enforcement staff with additional authority to
respond to specific encampment complaints but is not expected to reduce overall
homelessness in the City of Fremont without corresponding investment as
outlined within the City Council’s adopted Homelessness Response five-year
plan. Encampment interventions that are accompanied by an offer of alternative
shelter will be more effective and will lead to better community outcomes than
encampment interventions that are not accompanied by the offer of alternative
shelter.” /d. at 3.

10. Disregarding the recommendations of the City Manager’s Office. the City
Council approved the ordinance without providing mitigating services consistent with City of
Fremont’s Homelessness Response Plan — approving the first reading of the anti-camping
ordinance now challenged by Plaintiffs— and in so doing, effectively admitted that Chapter 8.90
would increase homelessness in the community by reducing funding for prevention services that
were proven to reduce the number of unhoused, unsheltered persons and use it instead for
conducting encampment abatements that “would not reduce homelessness”.

11. On February 11, 2025, the City of Fremont passed the anti-camping ordinance

under Chapter 8.90 of the Fremont Municipal Code. The ordinance imposes misdemeanor

PAGED
bh

tad

Case 3:25-cv-02225-MMC Document®- Filed 03/05/25 Page 11 of 62

penalties of up to $1,000 and up to six months in jail on anyone who “camp{s]” (including living
outdoors) on “any public property,” or anyone who “store[s]” personal property upon public
property. Sec. 8.90.020 Sec. 8.90.030 Section 8.90.060.

12. The Ordinance further states that “any person causing, permitting, aiding, abetting
or concealing a violation of” this new anti-camping ordinance “shall be guilty of a misdemeanor,
and may be prosecuted as a misdemeanor and upon conviction be subject to a fine not to exceed
$1,000.00 or imprisonment in the city or county jail for a period of not more than six months, or
by both such fine and imprisonment.” (See, Exhibit A)

PARTIES
Plaintiffs

13. Plaintiff CALIFORNIA HOMELESS UNION/STATEWIDE ORGANIZING
COUNCIL (“CHU/SOC”) is the unincorporated parent federation of over two dozen local
homeless unions, including local union plaintiff FREMONT HOMELESS UNION. CHU/SOC
oversees, coordinates and provides material life-sustaining support — “Projects of Survival” — as
well as communication, advocacy and, where possible, legal representation to thousands of its
members and other unhoused and insecurely-housed families and individuals in encampments,
streets, “safe” parking sites, shelters, vehicles, “transitional” and “supportive” housing and other
circumstances resulting from the growing unaffordability and inaccessibility of traditional
housing in California.

14. | CHU/SOC’s mission is to provide a voice for this segment of the community that
is routinely excluded from development and implementation of laws, ordinances, policies and
practices that impact the unhoused directly. CHU/SOC has no staff, paid or unpaid.

15. Plaintiff FREMONT HOMELESS UNION is a member union of the CHU/SOC

housing-insecure families, individuals, and advocates, and is a member local of the California

paceO
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 12 of 62

Homeless Union/Statewide Organizing Council, affiliated with the National Union of the
Homeless. The Union’s mission is to organize, represent and serve the State’s homeless
community. Most of its officers and members live in homeless encampments.

16. Plaintiff MISSION PEAK UNITARIAN UNIVERSALIST
CONGREGATION is a religious society in Fremont, California incorporated in the State of
California in May of 1994. For over thirty years, the Congregation has pursued “religious living
through worship, study, service and fellowship” including “acts that support our unhoused
neighbors, including providing food and personal items, including clothing and hygiene supplies.
“This Ordinance,” writes Congregation President Elizabeth Schaefer, “criminalizes our
Congregation members efforts to assist our unhoused neighbors.”

17. Plaintiff BRAIDED BRIDGE/HOME BRIDGE CONNECT, is a faith-based,
non-profit organization that works through local churches in many Bay Area Cities, including
Fremont, as affordable housing advocates. Its activities and support are wide-ranging, including
supplying food, clothing, items of protection from the weather and other necessities; connecting
people to available services: being present at sweeps to support unhoused people struggling to
move and relocating them to nearby spaces; creating advocacy art projects such as poster
campaigns; speaking at schools, on panels and at conferences; seeking legal support; and
offering regular restorative justice circles for processing the traumas of living unhoused and
supporting people who are living unhoused.

18. Plaintiff FAITH IN ACTION EAST BAY (“FIAEB”) is a faith-based
membership organization that promotes justice around the issues that impact East Bay
Communities, including the decriminalization of homelessness, access to affordable housing,

excellent public schools, ending mass incarceration, civic engagement, and just immigration

pace /
to

tod

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 13 of 62

policies to create family reunification. FIAEB multi-faith, multiracial network made up of more

than 23 congregations that include over 25,000 people. Members of FIAEB as part of their work
through FIAEB and its member congregations engage in direct mutual aid to unhoused people in
Fremont, such as providing tents, tarps, food, water, and care packages: that will be criminalized

by the Fremont’s new ordinance.

19. Plaintiff PAX CHRISTI NORTHERN CALIFORNIA (“PAX CHRISTI”) is a
50-year-old, faith-based membership organization located in Northern California whose
members volunteer in the City of Fremont and provide direct aid to the homeless by providing
tents, food, clothes, and other necessities. “Pax Christi” means “Peace Christ”, is part of the
Catholic Peace movement that emerged in opposition to the Vietnam War and the Cold-War
arms race. Pax Christi seeks to build a culture of peace and nonviolence requires meaningful
collaboration between clergy and laity, the leadership of young people, and nonviolence as a way
of life.

20. Plaintiff KENT EATON (“MR. EATON”) is an unhoused man who lives in the
City of Fremont and is a member of Fremont Homeless Union. He has experienced homelessness
for the past 22 years and survives on $336 dollars a month from general assistance and $335 in
food stamps. He lives in a tent that he has wrapped in a tarp to stay warm and protects him from
the elements and outside harm. The tent and tarp were given to him by a church group. MR.
EATON relies on a number of church groups that provide him with donations of food, water,
tents, and blankets because he cannot afford these items himself. MR. EATON also lives next to
and looks after his dear friend Corrine Griffith.

ZL. Plaintiff CORRINE GRIFFITH (“MS. GRIFFITH”) is a disabled woman who

is homelessness in the City of Fremont and who suffers from multiple personality disorder and

PAGES
bo

Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 14 of 62

epilepsy. MS. GRIFFITH has an adult son, who is a local plumber and who regularly brings her
survival gear such as tents and tarps helping her survive. MS. GRIFFITH lost her housing and
became homeless when her housing manager embezzled her rent. She is trying desperately to get
into a homeless shelter. As a victim of violent crime. MS. GRIFFITH has been terrorized by an
East Bay street gang that is an affiliate organized crime syndicate that has been regularly
prosecuted for racketeering activities in the US Court for the Northern District of California
[Omitted here for safety]. This street gang murdered her husband and terrorized her and her
family. MS. GRIFFITH lives near her dear friend MR. EATON and other people in her
encampment to protect herself from prospective violence. Not long ago, MS. GRIFFITH also
suffered a catastrophic seizure that caused her heart to stop and she temporarily died. Thankfully
because she was in her encampment, her fellow unhoused neighbors, who look out for her, were
able to get her an ambulance which brought her to a hospital and resuscitated her. During her
death, MS. GRIFFITH had a religious experience that turned her into a “believer” — as part of
her religious conviction she helps her fellow neighbors with survival items — commonly sharing
survival gear like tents, tarps, food, and other necessities

22. Plaintiff PRODESTA HOFF (“MS. HOFF”) is an unhoused women and
member of the Fremont Homeless Union. MS. HOFF is gainfully employed as a caregiver in the
City of Fremont. She lives in a tent within a camp of about a dozen other people, whom she
relies on to watch her things when she goes to her job. Besides working and striving to get into
housing, MS. HOFF is devoutly religious and as part of her faith regularly helps her neighbors in
her camp by sharing survival gear, tents, food, tarps, blankets, and other property necessary for

survival.

PAG 9
bo

ao

Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 15 of 62

23. Plaintiff JOSE ARROYO (“MR. ARROYO”) is homelessness and is a member
of the Fremont Homeless Union. MR. ARROYO is disabled. He was formerly a master
technician until he suffered a traumatic head injury, making it impossible to hold down a job. He
has been unhoused for the past two years. He relies on various churches that visit the camp and
provide survival items like tents, tarps, blankets, food, and water. All of these items keep him
alive, protected, and safe. MR. ARROYO lives in a tent in a large encampment in Fremont and
engages in acts of reciprocity among his fellow unhoused neighbors, sharing with his campmates
items like tarps, tents, and other survival gear.

24. _— Plaintiff MICHAEL AUSTIN (“MR,. AUSTIN”) is a man who has been
unhoused for the past five years while juggling multiple jobs as a handyman and working for a
local air filter company. MR. AUSTIN lives in a tent and suffers from arthritis in his back. He
manages his arthritis by sleeping on a spring mattress inside his tent to accommodate his
disability and to be able to sleep comfortably. MR. AUSTIN also keeps an assortment of tools he
uses for his employment. He assists his fellow neighbors with various tasks, and like everyone in
the camp, share’s survival gear and “camping paraphernalia”.

25, Plaintiff LACEY FRANKS (“MS. FRANKS”) is a women experiencing
homelessness who is a member of the Fremont Homeless Union.

26. Plaintiff MARIN COUNTY HOMELESS UNION is a chapter of the
California Homeless Union and is an is an unincorporated association of homeless and
housing-insecure families, individuals and advocates. The Marin County Homeless Union is a
member local of the California Homeless Union/Statewide Organizing Council, whose officers

and members have conducted work providing aid to unhoused people in Fremont. Officers of the

PAGE ] 0
hr

td

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 16 of 62

Marin County Homeless Union have been organizing in the City of Fremont and providing direct
mutual aid.
Counsel:

Anthony D. Prince (SBN # 202892)
General Counsel, California Homeless Union
Law Offices of Anthony D. Prince
2425 Prince Street. Ste. 100
Berkeley CA, 94705
Ph. 510-301-1472
Email: princelawoffices@yahoo.com

Andrea M. Henson (SBN # 331898)
Where Do We Go

2726 Martin Luther King Jr Way

Berkeley, CA 94703-2146

Phone: 510-999-9394
Email: ahenson@wdwg.org
Defendant City of Fremont is a municipal corporation located in the County of Alameda
that has passed its new anti-homeless law.
Counsel:
Rafael E Alvarado Jr..
City of Fremont, City Attorney’s Office
3300 Capitol Ave., Building A Fremont, CA 94538

JURISDICTION AND VENUE
27. Jurisdiction is based on 28 U.S.C. Sections1331 and 1343. This case is brought

pursuant to 42 U.S.C. Section 1983, 42 USC Section 12132, the Religious Land Use
Institutionalized Persons Act “RLUIPA” 42 USC Section 2000 and raises questions of federal
constitutional law under the Fourth and Fourteenth Amendments and federal statutes.

28. The state law claims in this action are so related to the claims in the action within

the original jurisdiction of this Court that they form part of the same case or controversy under

pace | |
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 17 of 62

Article III of the United States Constitution. The Court's jurisdiction over these claims is invoked

under 28 U.S.C. § 1367.

DIVISIONAL ASSIGNMENT

29. Because this action arises in Alameda County, it is assigned to the Oakland or San
Francisco Division. Venue is proper in the Northern District in that the events and conduct
complained of in this action are occurring in the Northern District.

STANDING FOR PRE- ENFORCEMENT CHALLENGE

30. “To establish Article III standing, an injury must be concrete, particularized, and
actual or imminent; fairly traceable to the challenged action; and redressable by a favorable
ruling.” Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013). The injury must not be “too
speculative.” /d. “A plaintiff need not, however, await an arrest or prosecution to have standing
to challenge the constitutionality of a criminal statute.” Rather, “[w]hen the plaintiff has alleged
an intention to engage in a course of conduct arguably affected with a constitutional interest, but
proscribed by a statute, and there exists a credible threat of prosecution thereunder, he should not
be required to await and undergo a criminal prosecution as the sole means of seeking relief.”
Babbitt v. United Farm Workers Nat'l Union, 442 U.S. 289, 298 (1979).

31, In the instant case, Chapter 8.90 of the Fremont Municipal Code criminalizes
conduct that for unsheltered homeless that is necessary for survival and involuntary. It also
criminalizes reciprocal relationships, charity, and homeless outreach services for ALL
PLAINTIFFS.

INDIVIDUAL PLAINTIFFS
32. | Unhoused plaintiffs MS. GRIFFITH, MS. HOFF, MS. FRANKS, MR.

ARROYO, MR. AUSTIN, MR. EATON “INDIVIDUAL PLAINTIFFS”, face immediate

PAGE | 2
ta

fad

Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 18 of 62

criminal persecution under the ordinance because they are involuntarily homeless, and the
ordinance criminalizes their possession of any type of property, including the survival gear such
as blankets and tents which they need to survive by keeping their body temperature within a safe
range.

33. | Furthermore, MS. GRIFFITH, MS. HOFF, MS. FRANKS, MR. ARROYO, MR.
AUSTIN, MR. EATON and Members of the FREMONT HOMELESS UNION AND
CALIFORNIA HOMELESS UNION face the interference of aid they receive from church
groups, such as PAX CHRISTI, FIAEB, and the MARIN COUNTY HOMELESS UNION,
which they rely on for survival gear, food, water, and other support that will be criminalized
under FREMONT’S new ordinance.

ORGANIZATIONAL STANDING

34. “The doctrine of associational standing permits an organization to ‘sue to redress
its members’ injuries, even without a showing of injury to the association itself." Or. Advocacy
Cir. v. Mink, 332 F.3d 1101, 1109 (9th Cir. 2003) (quoting United Food & Comm. Workers
Union Loc. 751 v. Brown Group, Inc., 517 U.S. 544, 552 (1996)). An association has standing to
sue on behalf of its members when: **(1) its members would otherwise have standing to sue in
their own right; (2) the interests it seeks to protect are germane to the organization’s purpose; and
(3) neither the claim asserted nor the relief requested requires the participation of individual
members in the lawsuit.” Am. Unites for Kids v. Rousseau, 985 F.3d 1075, 1096 (9th Cir. 2021)
(citing Hunt v. Wash. State Apple Advert. Comm'n, 432 U.S. 333, 343 (1977)). The third prong is
a “judicially fashioned and prudentially imposed” question, as opposed to a constitutional
requirement of standing. Mink, 322 F.3d at 1113 (citing United Food & Comm. Workers Union

Loc., 751,517 U.S. at 557 (“[T]he third prong of the associational standing test is best seen as

pace | 3
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 19 of 62

focusing on these matters of administrative convenience and efficiency, not on elements of a
case or controversy within the meaning of the Constitution.”).

35. Organizational Plaintiffs, CALIFORNIA HOMELESS UNION, FREMONT
HOMELESS UNION and MARIN COUNTY HOMELESS UNION, have standing because they
are legally permitted to sue on behalf of their members, including individually named Union
membership including plaintiffs MS. GRIFFITH, MS. HOFF, MS. FRANKS, MR. ARROYO,
MR. AUSTIN, MR. EATON and include unhoused people in the City of Fremont.

36. FIAEB, PAX CHRISTI, MARIN COUNTY HOMELESS UNION, have
organizational standing because their members have, and continue to intend to, assist unhoused
people in the City of Fremont by providing food, water, tents, and other survival gear.

37. | Members of FIAEB, PAX CHRISTI, and MARIN COUNTY HOMELESS
UNION will be subject to imprisonment for up to six months in jail for providing material aid to
the homeless, because it will constitute aiding and abetting camping or engaging in storage on
public property.

38. FIAEB, PAX CHRISTI, MARIN COUNTY HOMELESS UNION intentionally
provide material aid to help unhoused people to survive and know that they donate to unhoused
individuals. These Plaintiffs know that unhoused individuals will use donated items for survival
purposes, which constitute “camping” and “storage” on public property in violation of the
FREMONT’s new ordinance.

STANDING UNDER RLUIPA
39. The Religious Land Use and Institutionalized Persons Act (“RLUIPA”) broadly

defines "religious exercise" as "any exercise of religion, whether or not compelled by, or central
to, a system of religious belief." 42 U.S.C. §2000cc- 5(7)(A). This definition is deliberately far-

reaching, as evidenced by Congress’ intent to distinguish RLUIPA "from traditional First

pace 14
to

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 20 of 62

Amendment jurisprudence" by "expand[ing] the reach of the protection to include 'any religious
exercise."' Greene v. Solano Cnty. Jail, 513 F.3d 982,986 (9th Cir. 2008) (citing Cutter v.
Wilkinson, 544 U.S. 709, 715 (2005)). Indeed, RLUIPA itself demands that it be "construed in
favor of a broad protection of religious exercise, to the maximum extent permitted by the terms
of this chapter and the Constitution." 42 U.S.C. § 2000cc-3(g). Consistent with this broad
mandate, courts have routinely found that providing charity to homeless individuals-including by
offering food and drink-can constitute "religious exercise" under RLUIPA. See, e.g., Harbor
Missionary Church Corp. v. City of San Buenaventura, 642 F. App'x 726, 727-29 (9th Cir. 2016)
(finding that the church's homeless ministry, which included offering food, was "an integral part
of it religious exercise").

40. These rulings are consistent with RLUIPA's legislative intent, which aims to
protect organizations such as plaintiffs MISSION PEAK UNITARIAN UNIVERSALIST
CHURCH, PAX CHRISTI OF FREMONT, BRAIDED BRIDGE, FAITH IN ACTION and
other Fremont area religious orders that provide material support to the unhoused.

41. Chapter 8.90 of the Fremont Ordinance is fundamentally a land use regulation
that prohibits use of blankets, tents, tarps, and other similar items used for survival, and thermo-
regulation of the body on public and private property. However, Unitarian Universalist of
Mission Peak, Pax Christi, and Faith in Action East Bay also which share similar values — such
as the Christian values of charity demanded by Jesus Christ. See Matthew 25:35-40 “For I was
an hungry, and you gave me meat: I was thirsty, and you gave me drink: I was homeless and you
sheltered me: I was naked, and you clothed me”.

42. Providing shelter, clothes, blankets, and food are fundamental religious practices

for the members of Unitarian Universalist of Mission Peak, Pax Christi, and FLAEB. The

PAGE ] 5
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 21 of 62

criminalization of that charity under 8.90.060 is a substantial burden because it abrogates their
ability to engage in religious beliefs and traditions of charity.

PLAINTIFFS SATISFY THE ELEMENTS REQUIRED FOR INJUNCTIVE RELIEF

LEGAL STANDARD

43. Federal Rule of Civil Procedure 65 governs temporary restraining orders. Thd
standards for a temporary restraining order are the same as those for a preliminary injunction. Sed
Stuhlbarg Int'l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). In order
to prevail, a plaintiff must demonstrate: (1) a likelihood of success on the merits; (2) a likelihood
of irreparable harm in the absence of preliminary relief; (3) that the balance of equities tips in their
favor; and (4) that an injunction is in the public interest. See Winter v. Natural Res. Def. Council
Inc., 555 U.S. 7, 20 (2008).

44. “To establish a likelihood of success, plaintiffs need not conclusively prove theit
case or show that they are ‘more likely than not’ to prevail.” Coal. on Homelessness v. City &
Cnty. of San Francisco. 22-CV-05502-DMR, 2022 WL 17905114, at *20 (N.D. Cal. Dec. 23:
2022) (internal citations and quotations omitted) (“Coalition’’). “Rather, a ‘fair chance’ of success
is the standard for granting preliminary injunctive relief.” Jd. “The Ninth Circuit uses a sliding
scale approach to preliminary injunctions, such that ‘a stronger showing of one element may offset
a weaker showing of another.’” /d, at *20 (citing and quoting Alliance for the Wild Rockies v.
Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011)).

45. “A temporary restraining order is an extraordinary and temporary “fix” that the
court may issue without notice to the adverse party if, in an affidavit or verified complaint, the
movant “clearly show|[s] that immediate and irreparable injury, loss, or damage will result to the

movant before the adverse party can be heard in opposition.” Fed. R. Civ. P. 65(b)(1)(A).”

PAGE ] 6
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 22 of 62

Quoting from Sacramento Homeless Union et al v City of Sacramento et al 2:22-cv-01095-TLN-
KJN Dkt. No. 39 (August 3rd, 2023, Order GRANTING TRO).

46. Under Federal Rule of Civil Procedure 65, the Court has the authority to issue a
preliminary injunction. A party seeking such preliminary relief must meet one of two variants of
the same standard. The traditional Winter standard requires the movant to show that (1) it “is
likely to succeed on the merits;” (2) it “is likely to suffer irreparable harm in the absence of
preliminary relief:” (3) “the balance of equities tips in [its] favor:” and (4) “an injunction is in the
public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Under the
“sliding scale” variant of the same standard, “if a plaintiff can only show that there are ‘serious
questions going to the merits’—a lesser showing than likelihood of success on the merits—then a
preliminary injunction may still issue if the “balance of hardships tips sharply in the plaintiff's
favor,’ and the other two Winter factors are satisfied.” All. for the Wild Rockies v. Pena, 865 F.3d
1211, 1217 (9th Cir. 2017)

SERIOUS QUESTIONS GOING TO THE MERITS

47. “Serious questions” are questions that “cannot be resolved one way or the other
at the hearing on the injunction’ because they require ‘more deliberative investigation.’” (citation
omitted). They “need not promise a certainty of success, nor even present a probability of
success, but must involve a ‘fair chance of success on the merits.’” (citation omitted)” Alfred v
City of Vallejo 2:24-cv-03317-DC-SCR E.D. Feb. 7, 2025.

48. Here, the City of Fremont has not and cannot dispute the dangers faced by the
homeless as publicized currently and for years on its own website and by other means. Plaintiffs
have raised serious questions regarding the impact of Chapter 8.90 on what will happen if

Defendant City of Fremont deliberately disregards these known dangers and increases the risk of

pace | 7
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 23 of 62

physical and constitutional harm to Plaintiffs. Plaintiffs has raised serious questions going to the
merits regarding the right to bodily integrity and substantive due process under the 14"
Amendment, the Free Speech and Free Exercise clauses of the First Amendment, and, in
additional to the Constitutional harms, the physical harm that unhoused plaintiffs will face if
organizational plaintiffs HOMELESS UNION, MISSION PEAK CONGREGATION, PAX
CHRISTI, BRAIDED BRIDGE and FAITH IN ACTION are deterred from and at risk of arrest
and prosecution as aiders and abettors for performing their vital charitable support missions.
IMMINENT AND IRREPARABLE HARM

49. The Ninth Circuit has held that “[a]n alleged constitutional infringement will
often alone constitute irreparable harm.” Associated Gen. Contractors of Cal., Inc. v. Coal. of
Econ. Equity, 950 F.2d 1401, 1412 (9th Cir. 1991) (citation omitted). Plaintiff has established
there are serious questions as to the merits of her Fourteenth Amendment claim that Defendant
City’s clearing of her shelter would violate her substantive due process rights under the state-
created danger doctrine.

50. | INDIVIDUAL PLAINTIFFS and members of the FREMONT HOMELESS
UNION face irreparable harm from the criminalization of having life sustaining conduct.

Behaviors like using or possessing blankets, tents, tarps, and sleeping bags, become and offense

punishable by up to six months in jail. Storing water and food, medications, and other “property”

will immediately run afoul of the prohibition of storage of property on public property.
Furthermore, using an “camping paraphernalia” on any private or public property will also result
in incarceration.

51. As is described in both the Declarations of Timothy Gholston RN., and Dr. Jamie

Chang, PhD., FREMONTS anti homeless ordinance poses a major public health risk.

pace 18
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 24 of 62

52. For example, Mr. Gholston RN. Describes that the deprivation of blankets, tents,
sleeping bags and other survival gear that keeps unhoused people warm at night or during
inclement weather is medically necessary because chronic exposure to the cold result in
cardiovascular impairment caused by the restriction of blood vessels throughout the body. This
impairs the functioning of various organs in the body, resulting in cold related injury, illness, and
premature death. These are foreseeable dangers that will occur to INDIVIDUAL PLAINTIFFS
and MEMBERS OF THE FREMONT HOMELESS UNION.

53. Dr. Chang, PhD who is a leading researcher on the impacts of the criminalization
of homelessness also has presented comprehensive research that criminalization of homelessness
causes premature mortality, sleep deprivation, increased rates violence against women, and other
foreseeable dangers that will occur to INDIVIDUAL PLAINTIFFS and MEMBERS OF THE
FREMONT HOMELESS UNION.

THE BALANCE OF EQUITIES TILTS SHARPLY TOWARDS PLAINTIFFS

54. “The purpose of preliminary injunctive relief is to preserve the status quo if the
balance of equities so heavily favors the moving party that justice requires the court to intervene
to secure the positions until the merits of the action are ultimately determined.” Heflebower v.
U.S. Bank Nat. Ass’n, No. 1:13-cv-1121-LJO-MJS, 2013 WL 3864214, at *18 (E.D. Cal. July
23, 2013) (citing Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981)). “A court balancing the
equities will look to possible harm that could befall either party.” Jeremiah, 2018 WL 1367541,
*5 (citing CytoSport, Inc. v. Vital Pharm., Inc., 617 F. Supp. 2d 1051, 1081 (E.D. Cal. 2009)
atf'd, 348 F. App’x 288 (9th Cir. 2009)).

55. The balance of equities and public interest tips sharply in Plaintiff's favor. First,

FREMONT admits in its December 17" Staff Report that the anti-homeless ordinance will not

PAGE ] 9

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 25 of 62

reduce homelessness, and will instead divert resources away from program that are should to
reduce or prevent homelessness. Dr. Chang agrees with this but goes further to say “Anti-
homeless ordinances such as those in Fremont are often justified on grounds that they will reduce
homelessness in public spaces, increase public safety, reduce threats to public health, and/or push
individuals into shelter or successful treatments. But research consistently shows that the
enforcement of anti-homeless laws fails to deter the behaviors or sustainably accomplish these goals.

Instead, social scientific consensus shows the opposite is true.” Decl. Chang.

56. Furthermore, on February 2", the County of Alameda Supervisor Elisa Marquez
and Agency Director of Alameda County Health wrote to the City of Fremont as follows, in
pertinent part:

[W]e encourage the Council to consider the implications of potentially
criminalizing homelessness. Studies indicate that policies addressing
encampments, such as the proposed ordinance, have varied outcomes. While
encampments can present health and safety concerns, there is substantial evidence
that encampment bans do not improve community health or safety.

Instead, an analysis by the Johns Hopkins Bloomberg School of Public Health
found that involuntary displacement can disrupt access to healthcare, treatment,
and social services, worsening health conditions for affected individuals.
Research indicates that criminalizing camping does not reduce homelessness and
an analysis of the impact of a similar ordinance found that most individuals
displaced from encampments returned to unsheltered homelessness within a year.
Studies have also shown that policies that criminalize behaviors and activities
associated with unsheltered homelessness, including forcible displacement, can
hinder an individuals’ ability to secure housing and employment, exacerbating
homelessness and associated health risks.”

We are concerned that the broad language within the proposed ordinance
regarding “aiding, abetting, concealing, and permitting” those in encampments
could inadvertently penalize health providers, aid workers, outreach teams, and
others who deliver essential services and housing resources.”

PUBLIC INTEREST

57: It is well-settled that the abrogation of constitutional rights belonging to any

segment of the population offends the public interest. Here, moreover, as discussed above, the

paceE20)
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 26 of 62

City itself, by way of the Homeless Response Report approved by the City Council in May, 2024
has conceded that clearing encampments, the negative impact on the persons displaced thereby,
and the diversion of funds that could otherwise go to services and pathways to housing are
actions that not only do not serve the public interest, but are contrary to it.
CONCLUSION

58. Since the Supreme Court’s decision in Johnson v. Grants Pass, dozens of cities
across California, including the City of Fremont, have enacted new draconian laws and amended
existing ordinances to intensify the displacement of the unhouse in many cases loudly and
deceptively proclaiming that they have a green light, that “there are no more restrictions” to such
measures. They are wrong.

59. In Grants Pass, the Court held that constitutional challenges remain available to
challenge such enactments on bases other than the Eighth Amendment including the First, Fourth
and Fourteenth Amendments and statutes such as the Americans With Disabilities Act and, as

plaintiffs assert in this complaint, laws offering increased protection for free exercise of religion.

60. With the filing of this Complaint and Application for Preliminary Injunction,
Plaintiffs urge the Court to walk down those constitutional pathways to provide the injunctive
and declaratory relief necessary to prevent what will otherwise be a completely preventable

humanitarian crisis in the City of Fremont.
LEGAL CLAIMS

FIRST CAUSE OF ACTION
State-Created Danger
(Fourteenth Amendment of the U.S. Constitution; 42 U.S.C. § 1983)

61. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as

though fully set forth herein.

PAGED 1
to

eo

Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 27 of 62

62. The Ninth Circuit recognizes The Ninth Circuit recognizes a substantive due
process claim where there is a "state created danger" - i.e., where a state actor "affirmatively
place[s] an individual in danger’ by acting with ‘deliberate indifference to [a] known or obvious
danger in subjecting the plaintiff to it.'" Kennedy v. City of Ridgefield, 439 F.3d 1055, 1062 (9th
Cir. 2006); see also id at 1061 (noting that state action affirmatively places a plaintiff in a
position of danger "where state action creates or exposes an individual to a danger which he or
she would not have otherwise faced). The doctrine also applies to ordinances passed by municipal
entities Sinclair y. City of Seattle, 61 F.4th 674 (9th Cir. 2023).

63. | Under the Ordinance, unhoused people are prohibited from possessing blankets,
tents, tarps, and other survival gear that is used to regulate the body’s temperature and keep
INDIVIDUAL PLAINTIFFS and members of the FREMONT HOMELESS UNION warm and
dry.

64. § INDIVIDUAL PLAINTIFFS and members of the FREMONT HOMELESS
UNION need blankets, tents, tarps and other survival gear that are medically necessary for
survival because they keep the body warm and stabilize body temperature in order to maintain
the function of the body’s organs at night or during period of inclement weather.

65. If INDIVIDUAL PLAINTIIFFS and members of the FREMONT HOMELESS
UNION are deprived of their survival gear, they will experience cold related injury and
premature reality because, as according to Registered Nurse Timothy Gholston, “Staying warm
and dry is a biological necessity, because chronic cold causes cardiovascular impairment through
persistent restriction of blood vessels throughout the body. Persistent cold impair the functions of
the bodies organs, impairing their function, resulting in cold related injury, illness, and premature

mortality.

PAGED
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 28 of 62

66. This is compounded by the fact that unhoused people often have complex
disabilities and chronic conditions, which are doubly impaired by chronic cold that occurs either
being unsheltered at night or during period inclement weather.” See Decl. Gholston

67. The general prohibition on survival gear necessary to regulate the body
temperature of involuntarily homeless people posses a particularized harm to them, that is greater
than the general population of Fremont who has access to indoor shelter.

68. INDIVIDUAL PLAINTIFFS and members of the FREMONT HOMELESS
UNION subject to constant abatement of their property — including the seizure and destruction of
items necessary for survival such as tents. blankets, food. water. medications and constant
abatement essentially constitute police raids against unhoused.

69. The constant abatement of unhoused people through persistent police raids of
their encampments is recognized as a common state created danger within the medical
community that causes premature mortality among unhoused people.

70. According to Dr. Chang, a UC Berkeley Professor who specializes in the health
impacts of anti-homeless laws and criminalization, there are four primary factors that
criminalization cause premature mortality among unhoused people. (1) Forced relocation and
property seizures stripped people of health resources and necessities (e.g., personal belongings,
social support) required to survive unhoused. (2) Abatements drove unhoused people into
hazardous, isolated, less visible spaces, which increased health risks while reducing access to
health outreach workers and support systems. (3) Abatement were the grounds for frequent
negative encounters between unhoused people and authorities such as law enforcement -
interactions that produced anger, stress, and distrust. (4) Abatements cause and criminalization of

homelessness makes it unsafe for homeless people, particularly women, to seek out police

PAGED
bo

la

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 29 of 62

protection. This creates the necessity of self-policing in encampments which creates cycles of
interpersonal violence that resulted in suffering, injury, and premature death. See Chan J, Riley
P, Aguirre R., (2023)"Harms of encampment abatements on the health of unhoused people" SSM|
-Qualitative Research in Health, Volume 2, December 2022, Pages 100121 See Decl Dr. Chang.

Ti: Under Fremont’s municipal code, Homeless Union Members who take
rudimentary precautions against the elements will be arrested and their property will be seized
without a warrant.

12. Under 8.90.040(a) “It is unlawful and a public nuisance for any person to store
personal property, including camp paraphernalia, on any public property or any private property
without the written consent of the owner, except as otherwise authorized in writing by the city.”

73. Under 8,90.060(a)(1)(2) Enforcement provision the City can seize any property of
involuntarily homeless person after one initial advisement. After this initial advisement however,
if a homeless person does not find private property they are considered to have “no removed
their property” under 8.90.040(b)

74. Under 8.90.060(a)(1)(2) states: Any person violating this chapter shall be subject
to the following penalty: 1. Temporary seizure of personal property, as set forth at Section
8.90.040 of this chapter. 2. Prior to the city pursuing the remedy set forth at subsection (a)(1) of
this section, the city shall provide the violator, orally or in writing, with information about
housing support services. Nothing in this section or this chapter shall require the city to provide
housing to such violator.”

15. Under 8.90.050 “The city manager may adopt procedures for the removal and

recovery of personal property left upon lands where camping is prohibited. Absent such

PAGEL4
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 30 of 62

procedures, personal property left upon lands where camping is prohibited for more than twenty-
four hours may be removed by the city and may be recovered by the owner for up to ninety days.

76. 8.90.040(b) which states “Moving personal property to another location upon
public property ... shall not be considered to be removing the personal property from public
property.” Meaning that if the Homeless Union member without access to private property, will
constantly be in a state of non-compliance after the initial advisement under 8.90.060(a)(2) — and
is always subject to warrantless seizure of any personal property they own under 8.90.060(a)(1)

77. Even if given notice, Homeless Union Members are constantly subject to seizure
of their survival gear — and any temporary deprivation of their survival gear is potentially fatal.
For example, an officer

78. | Fremont’s municipal code exposes INDIVIDUAL PLAINTIFFS and FREMONT
HOMELESS UNION MEMBERS to the seizure of their survival gear and arrests up to six
months in jail for taking rudimentary precautions against the elements, or even just temporarily
leaving any type of personal property anywhere in the City. It also prohibits basic assistance to
their fellow unhoused people and neighbors through reciprocal acts of mutual aid such as sharing
of blankets, tents, that are necessary for survival.

79. Also importantly here, the State Created Danger Doctrine applies to state actors
who cut off medically necessary services from people in the community. See Penilla y. City of
Huntington Park, 115 F.3d 707 (9th Cir. 1997) (Finding state created danger doctrine where
“The officers examined Penilla, found him to be in grave need of medical care, cancelled the
request for paramedics, broke the lock and door jam on the front door of Penilla's residence,

moved him inside the house, locked the door, and left at approximately 11:30 a.m. The next day,

PAGED
bo

ed

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 31 of 62

family members found Penilla dead on the floor inside the house. He died because of respiratory
failure.”

80. Under Code 8.90.060, there is a broad prohibition against aiding and abetting
homeless peoples camping — meaning as described above that homeless outreach workers,
community volunteers, and other homeless people face a credible threat of prosecution with give
a unhoused person or UNION MEMBERS a tent, blanket, sleeping bag or similar “camping
paraphernalia”, if the donor knows that the homeless person intends to use that blanket or
sleeping bag for the purposes of sleeping on public or private property without the permission of
the owner. In short, providing aid necessary for survival is a criminal offence. Similar during an
abatement, helping an unhoused person move their property to another location or helping them
re-set their tent is a criminal offense. All these activities are mutual aid and support necessary to
avoid injury and pre-mature mortality caused by unsheltered homelessness.

81. Here, the dangers presented in Penilla has been codified into an ordinance. The
City of Fremont is cutting of unhoused people from material aid necessary for survival —
frightening the people who aid their survival through charitable and reciprocal donation and
forcing them to live in more isolated area farther away from police protection and medical aid
from emergency survivors, and preventing organizations like PAX CHRISTI, FAITH IN
ACTION EAST BAY, MARIN COUNTY HOMELESS UNION and other organizational
plaintiffs from bringing in necessary survival gear to unhoused people, including INDIVIDUAL
PLAINTIFFS and members of the FREMONT HOMELESS UNION.

82. The City of Fremont understands that unhoused people are in a medically
vulnerable state, dying 17.5 years sooner than their housed peers, and subject to pervasive

obvious dangers of being homeless such as exposure to the elements, and exposure to crime.

pace20
tr

hod

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 32 of 62

Rather than providing the medically necessary support to stop premature mortality the City of
Fremont is creating a prosecutorial framework to exacerbate these known dangers and expedite
the premature death of unhoused people within the City of Fremont — including members of the
California Homeless Union.

SECOND CAUSE OF ACTION

State-Created Danger
(Article I, Section 7 of the California Constitution)

83. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

84. | Governmental action that affirmatively places a person in a position of danger
deprives that person of substantive due process rights guaranteed by the California Constitution.
Cal. Const., Art. I, § 7(a). The substantive due process protections under the California
Constitution are at least as expansive as those under the U.S. Constitution.

85. Defendants’ policy, custom, and practice of removing unhoused people from
public spaces and of seizing and destroying their personal property, such as tents and other
survival gear, endangers the health and safety of unhoused people in a way that shocks the
conscience. Defendants know or should know that their actions endanger the health and safety of
unhoused individuals.

86. Defendants’ policies and practices have and will continue to put Individual
Plaintiffs, and a substantial number of unhoused individuals served by Plaintiffs, in immediate
danger in violation of their substantive due process rights under the California Constitution.

THIRD CAUSE OF ACTION

Violation of the Title II of the Americans with Disabilities Act of 1990
(42 U.S.C. § 12132)

PAGED |
bo

loo

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 33 of 62

87. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

88. Title II of the Americans with Disabilities Act (ADA) provides that “no qualified
individual with a disability shall, by reason of such disability, be excluded from participation in
or be denied the benefits of the services, programs, or activities of a public entity, or be subjected
to discrimination by any such entity.” 42 U.S.C. § 12132. Discrimination under Title II of the
ADA includes administration of programs in a way that has a discriminatory effect on people
with disabilities, or that has the “effect of defeating or substantially impairing the
accomplishment of the objectives of the service, program, or activity with respect to individuals
with disabilities.” 28 C.F.R. § 35.130 (b)(3)(ii).

89. A local government’s removal of homeless individuals and their possessions from
public property—as well as the provision of services or shelter to unhoused individuals—are
programs, services, and/or activities covered by Title II of the ADA. Failure to provide proper
assistance, additional time. or other supports to disabled individuals when demanding that
unhoused people remove themselves or their belongings from public space is a violation of the
ADA. See Cooley v. City of Los Angeles, 2019 WL 3766554, at *6 (C.D. Cal. Aug. 5, 2019)
(“Cooley [...] told LAPD officers that she needed help to carry her property because of her
disability and that she lost most of her essential property because her needs were not
accommodated [...] the City's practices, even if it facially neutral, violate the ADA by unduly
burdening people with disabilities such as Cooley”).

90. Failing to provide shelter options to unhoused people that meet their disability
needs is also a violation of the ADA—as it means that shelter is functionally unavailable to them

because of their disability. See Bloom v. City of San Diego, 2018 WL 9539238, at *3 (S.D. Cal.

PAGES
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 34 of 62

June 8, 2018) (“[B]ecause of plaintiffs’ disabilities, they cannot seek housing in a homeless
shelter because the shelters cannot accommodate their disabilities; .. . the shelters are
‘functionally unavailable’ to them”).

91. Defendants discriminate against unhoused individuals by failing to provide
adequate notice, time, and assistance to unhoused people with disabilities who are forced to
move themselves or their belongings from public space in response to Defendants’ homeless
sweeps.

92. Defendants further discriminate against unhoused individuals with disabilities by
arresting, citing, fining, and seizing the property of unhoused people for sleeping or lodging in
public without first identifying their individualized needs and whether Defendants’ shelter
options, if any exist, can actually meet those needs.

93. Forcibly removing unhoused residents without first identifying and offering
alternative shelter or services that meet the individualized needs of people with disabilities does
not serve any sufficiently compelling or bona fide and legitimate interest of Defendants, and less
discriminatory options are available to Defendants to achieve any interests they claim they are
trying to advance.

94. MS. GRIFFITH, MR. ARROYO, and a significant number of unhoused
individuals served by Plaintiffs, have physical or mental disabilities and will be injured by
Defendants’ discriminatory response to unhoused residents.

FOURTH CAUSE ACTION
Discrimination Against Persons With Disabilities
(Under Cal. Gov. Code § 11135)

95. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as

though fully set forth herein.

PAGELO
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 35 of 62

96. Cal. Gov. Code § 11135 is intended to prohibit all forms of discrimination
prohibited under Title II of the Americans with Disabilities Act and, where possible, to be more
protective of people with disabilities. See Cal. Gov. Code § 11135(b).

97. By administering its programs for unhoused people and response to homelessness
in a manner that has a discriminatory effect on people with disabilities, Defendants will violate.
and continue to violate, Section 11135.

98. MS. GRIFFITH, MR. ARROYO, and a significant number of unhoused
individuals served by Plaintiffs, have physical or mental disabilities and have been injured by
Defendants’ discriminatory response to unhoused residents with disabilities.

FIFTH CAUSE OF ACTION

Violation of the Religious Land Use Institutionalized Persons Act “RLUIPA”
(42 USC § 2000)

99. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

100. RLUIPA provides that “[n]o government shall impose or implement a land use
regulation in a manner that imposes a substantial burden on the religious exercise of a person,
including a religious assembly or institution” unless the government demonstrates that the
imposition of that burden is the least restrictive means of furthering a compelling governmental
interest. 42 U.S.C. § 2000ce(a)(1).

101. RLUIPA broadly defines “religious exercise” as “any exercise of religion,
whether or not compelled by, or central to, a system of religious belief.” 42 U.S.C. § 2000cc-
5(7)(A). This definition is deliberately far-reaching, as evidenced by Congress’ intent to
distinguish RLUIPA “from traditional First Amendment j urisprudence” by “expand[ing] the

reach of the protection to include ‘any religious exercise.’” Greene v. Solano Cnty. Jail, 513 F.3d

pace 30
Mm

Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 36 of 62

982, 986 (9th Cir. 2008) (citing Cutter v. Wilkinson, 544 U.S. 709, 715 (2005)). Indeed, RLUIPAI
itself demands that it be “construed in favor of a broad protection of religious exercise, to the
maximum extent permitted by the terms of this chapter and the Constitution.” 42 U.S.C. §
2000ce-3(g).

102. Consistent with this broad mandate, courts have routinely found that providing
charity to homeless individuals—including by offering food and drink—can constitute “religious
exercise” under RLUIPA. See, e.g., Harbor Missionary Church Corp. v. City of San
Buenaventura, 642 F. App’x 726, 727-29 (9th Cir. 2016) (finding that the church’s homeless
ministry, which included offering food, was “an integral part of its religious exercise; see also W.
Presbyterian Church v. Bd. of Zoning Adjustment of D.C., 862 F. Supp. 538, 544 (D.D.C. 1994)
(noting that, in the Religious Freedom Restoration Act context, the “concept of acts of charity as
an essential part of religious worship is a central tenet of all major religions,” including by
providing “clothing for the naked, food for the hungry, and benevolence to the needy”)
(emphasis added).

103. PLAINTIFF FIAEB is a multi-faith membership-based organization composed of
23 congregations and over 25,000 individual members who include Christian, Muslim, Jewish,
Buddhist, Hindu, Bahai, and other faiths.

104. PLAINTIFFS MS. HOFF and MS. GRIFFITH are both unhoused women, who
also engage in religiously motivated charity towards their fellow unhoused people who live in
their encampment.

105. Plaintiffs FIAEB, PAX CHRISTI, MS. HOFF, and MS. GRIFFITH engage in

acts of charity on land owned by the CITY OF FREMONT. or on private property located in

PAGES ]
to

too

Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 37 of 62

Fremont, including providing donations of food, water, tents, blankets, tarps, and other
necessities for survival, which is mandated by their sincerely held beliefs.

106. .FREMONT’s new anti-homeless ordinance is a land use regulation, because it
regulates land use of both public and private property within the CITY OF FREMONT.

107. FIAEB and PAX CHRISI members and ministerial duties, as well as MS. HOFF
and MS. GRIFFITH face criminal prosecution of engaging in religiously motivated acts of
charity as mandated by their members faith.

108. This criminalization of charity will be substantially burdened because the CITY
OF FREMONT imposes criminal penalties, up to six months in jail, against people who
knowingly provide aid to homeless individuals who engage in survival activities that violate
Chapter 8.90.

109. Furthermore, PAX CHRISTI and FAITH IN ACTION EAST BAY are both
501¢(3) non-profits, and could face a direct threat to their tax status, if its found that their
funding is used for the “criminal” activity of aiding the homeless.

110. .FREMONT’s anti-homeless ordinance does further a substantial government
interest, because it does not alleviate homelessness. Indeed, the County of Alameda and major
government contractors who provide homeless services, face the threat of incarceration.

111. .FREMONT’S anti-homeless ordinance is not the least restrictive means for
addressing issues like illegal dumping, because the City of Fremont’s own Homelessness
Response Plan has outlined ways to alleviate the impacts of homeless encampments, including
weekly trash services at encampments and providing unhoused people trash cans to manage
garbage, as well as reasonable regulations about the size and spacing of encampments — all of

which the CITY OF FREMONT has implemented.

PAGES D
bh

Ld

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 38 of 62

SIXTH CAUSE OF ACTION
Violation of the Religious Freedom Restoration Act
42 U.S.C. § 2000bb

112. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

113. Under Religious Freedom Restoration Act (“RFRA”), the federal government
“shall not substantially burden a person’s exercise of religion even if the burden results from a
rule of general applicability” unless the government demonstrates that the burden is “the least
restrictive means of furthering [a] compelling governmental interest.” Burwell v. Hobby Lobby
Stores, Inc., 573 U.S. 682, 694 & n.2 (2014) (quoting 42 U.S.C. § 2000bb-1(a), (b)). The First
Amendment similarly prohibits government interference in the freedom of expressive
association—including association for the purpose of engaging with others in protected religious
exercise, speech, or peaceable assembly—unless the government can show its conduct serves
“compelling state interests . . . that cannot be achieved through means significantly less
restrictive of associational freedoms.” Roberts v. U.S. Jaycees, 468 U.S. 609, 623 (1984).

114. | Any “person whose religious exercise has been burdened in violation of’ RFRA
“may assert that violation as a claim . . . in a judicial proceeding” and “obtain appropriate relief”
against the government. 42 U.S.C. § 2000bb-1(c). As denominational bodies and nonprofit
associations of churches, synagogues, pastors, and rabbis, Plaintiffs are “persons” within the meaning
of RFRA. See Hobby Lobby, 573 U.S. at 707-08 (recognizing that churches and nonprofits, as well
as Closely held corporations, constitute “persons” under RFRA).

115. Here, Plaintiffs MISSION PEAK CONGREGATION, FIAEB, PAX CHRISTIE and
other Plaintiffs that exercise their faith by providing charitable actions, including providing tents,
blankets, clothing, hygiene products and other survival items are harmed and deterred by the threat of

arrest as aiders and abettors of under the challenged ordinance.

PAGES 3
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 39 of 62

SEVENTH CAUSE OF ACTION
Violation of Freedom of Speech and Assembly
(First and Fourteenth Amendments to the U.S. Constitution; 42 U.S.C. § 1983)

116. PLAINTIFFS reincorporate the preceding paragraphs as if fully set forth herein.

117. Chapter 8.90 of Fremont’s Code applies to "public places’ historically associated
with the free exercise of expressive activities, such as streets, sidewalks, and parks." United
States v. Grace, 461 U.S. 171, 177, 103 S.Ct. 1702, 75 L.Ed.2d 736 (1983). Such places "are
considered, without more, to be 'public forums." Id.; Hague v. CIO, 307 U.S. 496, 515, 59 S.Ct.
954, 83 L.Ed. 1423 (1939) ("[S]treets and parks . . . have immemorially been held in trust for the

use of the public and, time out of mind, have been used for purposes of assembly,

communicating thoughts between citizens, and discussing public questions.” Grossman y. City off

Portland, 33 F.3d 1200, 1204 (9th Cir. 1994) (describing public parks as "the quintessential
public forums" (internal quotation marks and citation omitted)).

118. Constitutional protection for freedom of speech "does not end at the spoken or
written word." Texas v. Johnson , 491 U.S. 397, 404, 109 S.Ct. 2533, 105 L.Ed.2d 342 (1989).
The First Amendment guarantees "all people [ ] the right to engage not only in ‘pure speech,” but
‘expressive conduct’ as well." Holloman ex rel. Holloman v. Harland , 370 F.3d 1252, 1270
(11th Cir. 2004) (citing United States v. O’Brien , 391 U.S. 367, 376-77, 88 S.Ct. 1673, 20
L.Ed.2d 672 (1968) ). Moreover, "a narrow, succinctly articulable message is not a condition of
constitutional protection" because "if confined to expressions conveying a ‘particularized
message’ [the First Amendment] would never reach the unquestionably shielded painting of
Jackson Pollack, music of Arnold Schoenberg, or Jabberwocky verse of Lewis Carroll." Hurley
v. Irish-American Gay, Lesbian, and Bisexual Group of Boston, Inc., 515 U.S. 557 (1995) citing

Spence , 418 U.S. at 411, 94 S.Ct. 2727 ).

pacea4
at

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 40 of 62

119. In considering charitable donations and mutual aid to and amongst the homeless,
courts have found that donating and sharing of the necessities of survival constitutes expressive
conduct. Fort Lauderdale Food Not Bombs vy. City of Fort Lauderdale,,901 F.3d 1235 (11th Cir.
2018).

120. Chapter 8.90 criminalizes expressive conduct and religious exercise that is aimed
at censoring content-specific conduct that includes giving aid and succor to the homeless, in
order to chill the expression that speech and cause members to reasonably fear criminal
prosecution for bringing tents, blankets, and other aid.

121. The Fremont ordinance is an unconstitutional content-based regulation of speech
and expression because although facially content neutral, the Ordinance was adopted for a
content-based purpose: the City’s “disagreement” or disapproval with the ideas expressed by
homeless individuals, encampments, advocates’ and representatives’ exercising their First
Amendment speech, religious and political expression, associational rights, including the right to
protest, observe City officials, provide “camp paraphernalia” such as survival gear, food, and
assisting with “camp” and “Camp facilities” by providing protective structures like tents and
tarps for the homeless to survive. See Reed v. Town of Gilbert, Ariz., 576 U.S. 166, 164 (2015)
(quoting Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989)).

122. The Fremont Ordinance Sec. 8.90.030 states that “[i]t is unlawful for any person
to camp or maintain an encampment in or upon any public property such as public ways,
sidewalks, and streets.” Even more troubling is the definition of “Camp” set forth in the
ordinance. ““Camp” means to place, pitch or occupy camp facilities; to live temporarily in a
camp facility or outdoors; or to use camp paraphernalia.” (Emphasis added.) The word “or” may

be used as either a disjunctive or a conjunctive between two separate clauses. Here, either

PAGES 5
to

Lad

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 41 of 62

interpretation clearly indicates that the challenged ordinance makes it illegal not only to live in a
camp facility but equally criminal to simply live outdoors, period.

123. Ina facial challenge to an enactment’s validity under the First Amendment, the
“law may be invalidated as overbroad if ‘a substantial number of its applications are
unconstitutional, judged in relation to the statute’s plainly legitimate sweep.”” United States v.
Stevens, 559 U.S. 460 (2010) (quoting Wash. State Grange v. Wash. State Republican Party, 352
U.S. 442, 449 n.6 (2008)). Here, the City specifically uses the term “camping” as pretext to
target all “homeless” speech and expression in public spaces and to selectively enforce against
all individuals helping the homeless survive. Lastly, Homeless individuals living anywhere
outdoors and in any public spaces will be punished with punitive measures.

124. Moreover, the overbreadth doctrine exists “out of concern that the threat of
enforcement of an overbroad law may deter or ‘chill’ constitutionally protected speech—
especially when the overbroad statute imposes criminal sanctions.” Virginia v. Hicks, 539 U.S.
113, 119 (2003).

125. Fremont’s overbroad statute that criminally punishes the charitable acts of others
to include churches, nonprofits, individuals, and the homeless themselves will chill and deter
their speech. In Sec. 8.90.060 (b)(1) of the Fremont Anti-Camping law “Any person causing,
permitting, aiding, abetting or concealing a violation of this chapter shall be guilty of a
misdemeanor.”

126. While the City publicly denies that the ordinance “does not prohibit the provision
of aid and services” and that “a person that provides food, water, blankets, tents, a tent or
clothing to another person would not violate the terms of the camping ordinance or would that

constitute aiding and abetting. In fact, the plain language of the ordinance expressly states

pPaGeaO
to

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 42 of 62

otherwise. For example, under Sec. 8.90.020(c) *’Camp paraphernalia’ includes, but is not
limited to, bedrolls, tarpaulins, cots, beds, sleeping bags, hammocks or cooking facilities and
similar equipment.”

127. Thus, the provision of these items as an expression of one’s religious or political
beliefs can subject individuals (to include charities, homeless neighbors, local residents,
churches, and others) exposure to citation and arrest. These criminal penalties have already had
the effect of deterring and chilling the Constitutional speech of the plaintiffs who are threatened
by the government to stop engaging in expressive or religious conduct such as acts of charity
toward the homeless.

128. Additionally, “the Supreme Court and the Ninth Circuit have repeatedly allowed
facial attacks premised on the grant of unbridled discretion to a licensing official.” Kaahumanu
v. Hawaii, 682 F.3d 789, 802 (9th Cir. 2012) (citing City of Lakewood vy. Plain Dealer Publ’g
Co., 486 U.S. 750, 759 (1988)). While the ordinance states that the City shall exercise its
discretion to enforce this ordinance, the enforcement outcomes for protected speech are solely
left to the local law enforcement officer.

129. Under the First Amendment, a government like the City of Fremont “has no
power to restrict expression because of its message, its idea, its subject matter, or its content.”
Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015) (quoting Police Dep't of Chicago v.
Mosley, 408 U.S. 92, 95 (1972)). “Government regulation of speech is content based if a law
applies to a particular speech because of the topic discussed or the idea or message expressed.”
Id.

130. To determine whether a law is content based, i.e., a law that targets speech on its

communicative content, courts consider “whether a regulation of speech ‘on its face’ draws

paced 7
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 43 of 62

distinctions based on the message a speaker conveys.” Recycle for Change v. City of Oakland,
856 F.3d 666, 670 (9th Cir. 2017) (citing Reed, 576 U.S. at 163). “A law that is content based on
its face is subject to strict scrutiny regardless of the government’s benign motive, content-neutral
justification or lack of ‘animus toward the idea contained’ in the regulated speech.” Reed, 576
US. at 165 (quoting Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 429 (1993)).

131. Courts consider whether a law is content based or content neutral “on its face
before turning to the law’s justification or purpose,” because a government’s assertion of “an
innocuous justification cannot transform a facially content-based law into one that is content
neutral.” Reed, 576 U.S. at 167.

132. “[T]he appropriate level of scrutiny is initially tied to whether the statute
distinguishes between prohibited and permitted speech on the basis of content.” Frisby v.
Schultz, 487 U.S. 474, 481 (1988). Content-based laws are “presumptively unconstitutional.”
Reed, 576 U.S. at 163. To overcome this presumption, a content-based law must survive strict
scrutiny, which requires the government to prove that the content-based law is “narrowly tailored
to serve compelling state interests.” Jd.

133. Even if the considered content-neutral, the Ordinance violates the First
Amendment as an unreasonable time, place, and manner restriction that impermissibly burdens
protected speech, expression, and associational rights in a public forum. Restrictions on speech
(reasonable time, place, and manner restrictions that are justified without reference to the
protected speech’s content) must be “narrowly tailored to serve a significant government interest,
leaving open ample alternative channels of expression.” 4.C.L.U. of Nev. v. City of Las Vegas,
466 F.3d 784, 792 (9th Cir. 2006) (citing Clark v. Cmty. for Creative Non-Violence, 468 U.S.

288, 293 (1984)). This tailoring requirement guards not only against “an impermissible desire to

PAGES 8
ted

La

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 44 of 62

censor” based on disagreeable content but also against a government conveniently silencing
speech as “the path of least resistance” in addressing associated problems. McCullen, 573 U.S.
at 486. “[B]y demanding a close fit between ends and means, the tailoring requirement prevents
the government from too readily ‘sacrific[ing] speech for efficiency.’” Jd. (quoting Riley v. Nat’l
Fed'n of the Blind of N.C., Inc., 487 U.S. 781, 795 (1988)). The Ordinance fails to satisfy these
requirements. By prohibiting all individuals from engaging in charitable acts, creating criminal
punishment and penalties for all acts of charity that assist with survival in traditional public
forums such as parks and sidewalks, the Ordinance delegates overly broad discretion to law
enforcement. The Ordinance is not narrowly tailored because it burdens substantially more
speech, expressive conduct, and association than necessary and does not leave open channels for
expression.

134. Under the prior restraint doctrine, “a law cannot condition the free exercise of
First Amendment rights on the unbridled discretion of government officials.” Desert Outdoor
Adver., Inc. v. City of Moreno Valley, 103 F.3d 814, 818 (9th Cir. 1996) (internal quotation
marks, citation omitted). The Ordinance is an unconstitutional prior restraint because now every
person entering a homeless encampment or assisting with survival of homeless individuals is
subject to enforcement by law enforcement, abatement officers, and other city workers and
contractors vested with sweeping discretion to arbitrarily anticipate and suppress speech,
expression, and associational rights. Such limitless discretion inherently creates an unacceptable
risk of viewpoint discrimination, regardless of whether or how it is in fact exercised.
Kaahumanu, 682 F.3d at 806.

135. This case is similar to Martinez v. City of Fresno, 1:22-cv-00307-DAD-SAB

(E.D. Cal. May. 24, 2022), where the central issue was whether an ordinance regulating the

PAGES 9
bh

tad

Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 45 of 62

behavior of unhoused individuals and their advocates violated First Amendment rights. In
Martinez, the court ruled that the ordinance was likely unconstitutional due to its overbreadth
and vagueness. The Ordinance’s broad language allowed for excessive restrictions on speech and
conduct, effectively silencing government criticism by displacing unhoused people from public
view and hindering advocates and the press from engaging with them or drawing attention to
homelessness issues. To prevent this infringement on free speech, the court issued a preliminary
injunction, halting enforcement of the ordinance while the legal challenges were considered.

136. Here, what the City of Fresno unsuccessfully sought to accomplish with yellow
police tape the City of Fremont aims to achieve by threat of arrest. The constitutional violation is

the same in either case.

EIGHTH CAUSE OF ACTION
Violation of Freedom of Speech and Assembly
(Article I, Sections 2 and 3 of the California Constitution)

137. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

138. The California Constitution, Article I, section 2 prohibits laws that “restrain or
abridge liberty of speech or press.” The liberty of speech provision in California’s Constitution
“is at least as broad as and in some way is broader than the comparable provision of the federal
Constitution’s First Amendment.” Kasky v. Nike, Inc., 27 Cal. 4th 939,.958—59 (2002) (internal
quotation marks, citations omitted). The California Constitution, Article I, section 3 protects the
right to “assemble freely to consult for the common good.”

139. The standards for evaluating whether a regulation is content based and whether a

content-based regulation is constitutional are similar under federal and state law. See Glendale

Assocs., Ltd. v. NLRB, 347 F.3d 1145, 1155—56 (9th Cir. 2003).

pace4Q
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 46 of 62

140. The standard for evaluating time, place, and manner restrictions on protected
speech and assembly rights in a public forum is similar under federal and state law. Cuviello v.
City of Vallejo, 944 F.3d 816, 827 (9th Cir. 2019) (citing Dulaney v. Mun. Court, 11 Cal. 3d 77,
84-85 (1974)): Int'l Soc’y for Krishna Consciousness of Cal., Inc. v. City of Los Angeles, 48 Cal.
4th 446, 456-57 (2010)) (freedom of speech); Chambers v. Mun. Court, 65 Cal. App. 3d 904,
908 (1977) (right to freely assemble and associate).

141. The City of Fremont is violating or imminently will violate Article I, sections 2
and 3 of the California Constitution by enforcing the Ordinance against protected speech,
expressive conduct, and association.

NINTH CAUSE OF ACTION

Violation of the free exercise of religion
(First and Fourteenth Amendments to the U.S. Constitution; 42 U.S.C. § 1983)

142. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

143. "Government fails to act neutrally when it proceeds in a manner intolerant of
religious beliefs or restricts practices because of their religious nature." Fulton v. City of Phila.,
141 S. Ct. 1868, 210 L. Ed. 2d 137 (2021) (first citing Masterpiece Cakeshop, Ltd. v. Colo. C.R.
Comm'n, 584 U.S. 617, 138 S. Ct. 1719, 1730-32, 201 L.Ed.2d 35 (2018) (holding an
adjudicatory body of the Colorado Civil Rights Commission failed to act neutrally in an
administrative proceeding when it demonstrated "hostility" towards a bake shop owner's
religiously-grounded opposition to same-sex marriage); then citing Lukumi Babalu A ve, 508 U.S,
at 533, 113 S.Ct. 2217 (holding that a city ordinance lacked neutrality and targeted the Santeria

religion where it effectively prohibited any killing of animals for the purpose of Santeria ritual

PAGES ]
bo

tad

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 47 of 62

sacrifice but ensured "killings that are no more necessary or humane in almost all other
circumstances are unpunished")).

144. Here, 8.90.060 is content based because it is based "depend entirely on the
communicative content" Reed, 576 U.S. at 164-165, 135 S.Ct. 2218. Fremont Municipal Code
Chapter 8.90.060(a)(1) criminalizes donations of survival items to people who are homeless,
when donor knows the intended beneficiary is homeless, and that the beneficiary intends to use
the donated survival gear to violate the ordinance, which they invariably will (See California
Criminal Jury Instructions 401, Aiding and Abetting). At the same time, 8.90.060(a)(1) permits a
donor to give identical items to a beneficiary who is not homeless, and they believe the

beneficiary will not use the items to violate the ordinance. Jd.

145. In short, 8.90.060(a)(1) strictly prohibits the Judeo-Christian duties towards the
poor. It is unlawful to “provide the poor wanderer with shelter” (Isaiah 58:7), or clothing the
naked, and feeding the hungry, (Matthew 25:35-40) if these donations are knowingly given to the
homeless people who invariably use donated goods to violate Chapter 8.90.

146. However, it is fine to give identical items to the rich who own homes. If the
intended beneficiary can keep their tents, blankets tents, cooking facility, and other “camping
paraphernalia" in their house or garage the doner will not experience prosecution for aiding and
abetting under 8.90.060.

TENTH CAUSE OF ACTION
Violation of Fourth Amendment protection against unreasonable search and seizure
(Fourth Amendment; 42 U.S.C. § 1983)

147. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as

though fully set forth herein.

148. The Fourth Amendment to the U.S. Constitution protects against all unreasonable

searches and seizures. U.S. Const. amend. IV. The Fourth Amendment also specifically protects

pace42
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 48 of 62

individuals from being arrested or having their property searched and seized by law enforcement
without probable cause that a crime has been committed. See, e.g.. Kincaid v. City of Fresno,
2006 WL 3542732, at *35-37 (E.D. Cal. Dec. 8, 2006) (“The City's seizure of homeless people’s
personal property without probable cause [...] violates the Fourth Amendment to the United
States Constitution”).

149. Similarly, government officials can only detain or make an investigatory stop if
they are aware of “specific, articulable facts which, together with objective and reasonable
inferences, form a basis for suspecting that the particular person detained is engaged in criminal
activity.” U.S. v. Hernandez-Alvarado, 891 F.2d 1414, 1416 (9th Cir. 1989),

150. Where enforcement of a law has already been determined to be patently
unconstitutional, however, there can be no reasonable suspicion or probable cause to investigate
a violation of the law. See Cuadra vy. City of South San Francisco, 2010 WL 55875, at *9 (N.D.
Cal. Jan. 4, 2010) (“there was no probable cause to arrest [plaintiff] for breaking a law that had
already been held unconstitutional”); Warner v. Village of Ruidoso, 2013 WL 12329081, at *12
(D. N.M. Sept. 30, 2013) (“state courts have already held that the Village Ordinance was patently
unconstitutional, which supports his contention that no probable cause existed for issuing the
violations of these laws.

151. Individual Plaintiffs and others living unsheltered in the City of Fremont,
including many unhoused people served by Plaintiffs, will be subject to investigatory stops,
searches, property seizures, arrests, “move along” orders and warnings pursuant to anti-lodging
and sleeping laws without probable cause or reasonable suspicion. Religious groups, nonprofits,
and individual plaintiffs will live under constant and imminent threat of being subject to these

unconstitutional searches and seizures.

paced 3
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 49 of 62

ELEVENTH CAUSE OF ACTION
No Probable Cause: Unreasonable Search and Seizure
(Under Article I, § 13 of the California Constitution)

152. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

153. By making it illegal to possess items of personal property necessary for survival,
now classified essentially as contraband, belonging to plaintiffs, the challenged ordinance
authorizes seizure and, in some cases, destruction of personal property belonging to plaintiffs.

TWELFTH CAUSE OF ACTION
Fifth Amendment Takings Clause
(Fifth Amendment; 42 U.S.C. § 1983)

154. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

155. By making it illegal to possess items of personal property necessary for survival,
now Classified essentially as contraband, belonging to plaintiffs, the challenged ordinance
authorizes seizure and, in some cases, destruction of personal property belonging to plaintiffs.

THIRTEENTH CAUSE OF ACTION

Right to Free Movement and Travel
(Article I, Sections 7 and 24 of the California Constitution)

156. Plaintiffs incorporate by reference all foregoing and subsequent paragraphs as
though fully set forth herein.

157. Even before the adoption of the U.S. Constitution, residents of all states have
“possessed the fundamental right, inherent in citizens of all free governments, peacefully to
dwell within the limits of their respective states, to move at will from place to place therein, and
to have free ingress thereto and egress therefrom . .. .” United States v. Wheeler, 254 U.S. 281,

293 (1920). The fundamental right to travel and to “peacefully dwell,” although not explicitly

pace44
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 50 of 62

enumerated in the U.S. Constitution, has been consistently recognized by the courts and has been
found to be embedded within the Commerce Clause and the Privileges and Immunities, Due
Process, and Equal Protection Clauses of the Fourteenth Amendment. Although sometimes
referred to in shorthand fashion as a “right to travel” or “right to freedom of movement,” this
fundamental right encompasses not only both intrastate and interstate travel, but also the right to
remain, free from disturbance, in the place where one has arrived.

158. Because the right of freedom of movement is a fundamental right, under the Equal
Protection Clause of the Fourteenth Amendment to the U.S. Constitution, any ordinance
restricting exercise of that right is “presumptively invidious” and is invalid unless the
government can prove the restriction has been “precisely tailored to serve a compelling
governmental interest.” Plyler v. Doe, 457 U.S. 202, 216-17 (1982).

159. By requiring all who enter a homeless encampment, an abatement area in a public
place, and all other charitable work in public spaces the Ordinance interferes with the right to
move freely and is not precisely tailored to serve a compelling interest.

160. INDIVIDUAL PLAINTIFFS and Members of the FREMONT HOMELESS
UNION and CALIFORNIA HOMELESS UNION/STATEWIDE ORGANIZING COUNCIL in
the City of Fremont must take rudimentary precautions to protect themselves from cold, rain,
excessive heat, street violence, and other foreseeable dangers of involuntary homelessness. This
means they have no choice but to use blankets, tents, tarps, to keep themselves safe, or sleep in
their vehicles. This necessary conduct will result in criminal prosecution and arrest, as well as
seizure and deprivation of survival gear.

161. City of Fremont is therefore criminalizing involuntary conduct, that it knows or

should know, is necessary for survival. Indeed, a December 17" staff report prepared for City of

pacEa
ba

ed

Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 51 of 62

Fremont’s City Council stated, “The adoption of a camping ordinance ... is not expected to
reduce overall homelessness in the City of Fremont.” It further noted “staff would seek to
reallocate ... resources as described in the HRP intended to prevent and reduce homelessness.”
Which is an admission that essentially all unhoused people in the City of Fremont are
involuntarily homeless.

162. Under Fremont Municipal Code 8.90.060(b) “Any person causing, permitting,
aiding, abetting or concealing a violation of this chapter shall be guilty of a misdemeanor, and
may be prosecuted as a misdemeanor and upon conviction be subject to a fine not to exceed
$1,000.00 or imprisonment in the city or county jail for a period of not more than six months, or
by both such fine and imprisonment.

163. Beyond the direct criminalization of using rudimentary precautions against the
elements, the City of Fremont criminalizes reciprocal acts of mutual aid by the homeless, and
charity and assistance from religious organizations, that members of the FAITH IN ACTION
EAST BAY, PAX CHRISTI NORTHERN CALIFORNIA, and plaintiffs the sincerely held
religious beliefs of MS. HOFF, MS. GRIFFITH.

164. It also interferes with FREMONT HOMELESS UNION, CALIFORNIA
HOMELESS UNION, MARIN COUNTY HOMELESS UNION engaging in projects of survival
and engaging in mutual aid and exchange of survival gear among members.

165. The “aids” “abets” “conceals” language of Section 8.90.060 must be considered
within the framework of California criminal law and procedure. As set forth by the Criminal Jury|
Instructions of the Judicial Council of California:

166. “Someone aids and abets a crime if (1) the perpetrator committed the crime (2)

the defendant knows of the perpetrator’s unlawful purpose (3) before or during the crime

PAG 4 6
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 52 of 62

commission of the crime does in fact, aid, facilitate, promote, encourage, or instigate the
perpetrator’s commission of that crime; and (4) The defendant’s words or conduct did in fact aid
and abet the perpetrator’s commission of the crime.” See Cal Crim 401, Judicial Council of
California Criminal Jury Instructions (2024 edition)

167. Therefore, under the law, ifa(1) involuntarily homeless person sleeps outside in
a blanket, tent, or other “camping paraphernalia” that “constitutes camping”(2) knows a
homeless person intends to use a tent, sleeping bag, or blanket on public or private (2) intends to
help the homeless person stay warm at night by providing a tent, sleeping bag or blanket (3)
actually does give a homeless person a tent, sleeping bag, or blanket (4) the homeless person
uses those items for camping on public or private party — will be guilty of a misdemeanor
punishable up to six months in jail.

168. ORGANIZATIONAL PLAINTIFFS and their members engage in conduct of
sharing tents, sleeping bags, blankets, food, water, and other forms of property when their
members (1) know unhoused people who use tents, sleeping bags, and blankets survive living
outside in the City of Fremont (2) know the people they give survival gear intend to use those
items on public or private property (3) and know they do use that survival gear and place it on
public or private property will be subject to criminal prosecution.

169. ORGANIZATIONAL PLAINTIFFS and their members will constitute “aid and
abetting” and be subject to criminal prosecution to up to six months for providing mutual aid and
assistance necessary for the survival. If one of their members give any homeless people property
that they know the homeless people will possess for any duration, they will be subject to criminal

prosecution.

paced /
bo

Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 53 of 62

170. INDIVIDUAL PLAINTIFFS who engage in acts of reciprocal obligation and
sharing of resources among members of their encampment similarly face aiding and abetting
charges for helping their neighbors rain-proof tents, share blankets, and other survival items.

PLAINTIFFS PRAY AS FOLLOWS

1. That this Court issue a temporary restraining order, preliminary injunction, and

permanent injunction halting implementation of Chapter 8.90 of Fremont’s municipal

code.

to

That the Court issue a Declaratory Judgement that Chapter 8.90 of Fremont’s
municipal code is unconstitutional and facially invalid.

3. That the Court award attorney fees and cost of suit.

4, That the Court provide other relief as it deems necessary and proper.

Dated: March 4, 2025 Respectfully Submitted,

/s/ Anthony D. Prince
General Counsel,

California Homeless Union/
Statewide Organizing Council

Law Offices of Anthony D. Prince

/s/ Andrea M. Henson,
Where Do We Go

Attorneys for Plaintiffs

VERIFICATION
As Northern California Regional Director for the California Homeless Union/Statewide
Organizing Council, I, Crystal Sanchez, verify under penalty of perjury under the laws of the

United States of America that the factual statements in this Complaint are true and correct.

Dated: March 4, 2025 /s/ Crystal Sanchez,

pace48
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 54 of 62

Exhibit A
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 55 of 62

ORDINANCE NO. - 2024

AN ORDINANCE OF THE CITY COUNCIL OF THE CITY OF
FREMONT ADOPTING CHAPTER 8.90 OF FREMONT MUNICIPAL
CODE TO ADOPT A CAMPING ORDINANCE

WHEREAS, the City of Fremont (“City”) is committed to protecting the life, health, and
safety of its residents and all people within the geographical boundaries of the City; and

WHEREAS, some lands within the City are environmentally sensitive, which may be
significantly damaged by unregulated human activity and lands not specifically developed for
camping purposes could potentially pose significant health and safety hazards to people who
make shelter or stay overnight in these areas; and

WHEREAS, the Council is committed to protecting the rights of individuals who cannot
obtain shelter and to treating their personal property with respect and consideration; and

WHEREAS, the City currently provides shelter beds for people experiencing
homelessness, which offer a place to sleep and supportive services including job programs,
housing support, treatment for mental health conditions or substance abuse, and security; and

WHEREAS, the City engages in outreach work to build relationships with people
experiencing homelessness, using a person-centered, compassionate approach to provide services
tailored to each person’s specific needs; and

WHEREAS, the City provides housing stability support, eviction protection, transitional
housing, and supportive and permanent housing solutions to assist people with ending their
homelessness: and

WHEREAS, the 2024 Point-in-Time Count administered by the County of Alameda
Continuum of Care reported 614 people were experiencing unsheltered homelessness within the
City; and

WHEREAS, City streets, sidewalks, and parks are intended for safe and sanitary shared
use by a diverse community of users including businesses, government, and the general public
for gathering, recreating, movement of people, maintenance, and cleaning, and are frequently
used by people relying on a variety of mobility devices; and

WHEREAS, this activity has forced residents to walk in the street to pass encampments
blocking City sidewalks and puts residents at risk of injury or death from vehicular traffic; and

WHEREAS, the sustained presence of people in the City’s open space and waterways
within the City has created unsafe, unsanitary, unhealthy, and dangerous conditions including
water pollution and frequent uncontained fires that threaten people living or using these areas,
first responders, and the general public; and

Page lof 8
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 56 of 62

WHEREAS, Fremont Fire indicates that fire crews respond to several fires each year
suspected to have resulted from human activity related to homelessness; and

WHEREAS, people sheltering along riverbeds and flood control channels within the City
are at risk of experiencing flooding, vector-related disease and other health issues, and these
areas often contain sensitive environments at risk of significant damage by unregulated human
activity; and

WHEREAS, the City counted approximately 223 encampments in 2022/2023 and
collected over 409 tons of trash; and

WHEREAS, the City is obligated to protect public health and safety and its natural
resources by maintaining clean, safe, and accessible City properties for all residents to enjoy,
including parks, open space, and the public right of way; and

WHEREAS, to mitigate risks to the health and safety of the general public and potential
damage to environmentally sensitive lands, the Council desires to enhance the City’s authority to
disband encampments regardless of the availability of shelter, due to the health and safety risk to
those engaged in that activity, the general public, and the environment; and

WHEREAS, it is the intent of this Ordinance to prohibit camping, sleeping, and
maintenance of encampments within the City while encouraging people experiencing
homelessness to use available low barrier shelters and access a variety of services available from
the City and its partners; and

WHEREAS, when abating any encampment, the City will provide written notice in
advance of the cleared location that explains when the encampment will be cleaned up and how
an individual can reclaim items stored during the process; and

WHEREAS, the City will store any personal property that may belong to a person, has
apparently utility in its current condition and can be safely retrieved from the site, but will not
store property that is broken, hazardous, contraband, or listed on the City’s current list of
common items regularly abandoned during the abatement process.

NOW, THEREFORE, THE CITY COUNCIL OF THE CITY OF FREMONT DOES
ORDAIN AS FOLLOWS:

SECTION 1. FMC CHAPTER 8.90 ADDED

Chapter 8.90 Camping on Public Property of Fremont Municipal Code Title 8 Health and Safety,
is added to read as follows:

Sec. 8.90.010 Purpose.

The purpose of this chapter is to maintain streets, parks and other public and private areas within
the city in a clean, sanitary and accessible condition and to adequately protect the health, safety

Page 2 of 8
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 57 of 62

and public welfare of the community, while recognizing that, subject to reasonable conditions,
camping and camp facilities associated with special events can be beneficial to the cultural and
educational climate in the city. The use of streets and public areas within the city for camping
purposes or for storage of personal property interferes with the rights of the public to use these
areas for which they were intended. Such activity can constitute a public health and safety hazard
that adversely impacts residential neighborhoods and commercial areas. Camping without the
consent of the owner and proper sanitary measures adversely affects private property rights,
public health, safety, and welfare of the city. Nothing in this chapter is intended to interfere with
otherwise lawful and ordinary uses of public or private property.

Sec. 8.90.020 Definitions.

Unless the particular provisions or the context otherwise requires, the definitions contained in
this section shall govern the construction, meaning, and application of words and phrases used in
this chapter.

(a) “Camp” means to place, pitch or occupy camp facilities; to live temporarily in a camp
facility or outdoors; or to use camp paraphernalia.

(b) “Camp facilities” include, but are not limited to, tents, huts, vehicles, vehicle camping outfits
or temporary shelter.

(c) “Camp paraphernalia” includes, but is not limited to, bedrolls, tarpaulins, cots, beds, sleeping
bags, hammocks or cooking facilities and similar equipment.

(d) “City manager” means the city manager or designee.

(e) “Establish” means setting up or moving equipment, supplies or materials on to public or
private property to “camp” or operate camp facilities.

(f) “Maintain” means keeping or permitting equipment, supplies or materials to remain on
public or private property in order to camp or operate camp facilities.

(g) “Operate” means participating or assisting in establishing or maintaining a camp or camp
facility.

(h) “Park” means any park or recreation area used by the public and regulated under Chapter
12.20 of this code.

(i) “Private property” means all private property including, but not limited to, streets, sidewalk,
alleys, and improved or unimproved land.

(j) “Public property” means all public property including, but not limited to, streets, sidewalks,
alleys, improved or unimproved land and parks.

Page 3 of 8
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 58 of 62

(k) “Store” means to put aside or accumulate for use when needed, to put for safekeeping, to
place or leave in a location.

(1) “Street” means the same as defined in Section 18.25.2730 of this code.

Sec. 8.90.030 Camping, locations prohibited; protection of waterways.

(a) Camping. It is unlawful for any person to camp or to maintain an encampment in or upon
any public property, including any street, sidewalk, park, open space, waterway, or banks of
a waterway, or any private property not designated and equipped for such camping.
Additionally, it is unlawful for any person to camp or maintain an encampment in or upon
any land designated as a high fire risk area. This section is not intended to prohibit camping
on private residential property by friends or family of the property owner, so long as the
owner consents and the overnight camping is limited to not more than three consecutive
nights.

(b) Waterways. It is unlawful for any person to do any of the following:

1. Build or erect a structure of any type along the banks of any waterway, or drive a nail or
other object into any tree or other natural area vegetation for the purpose of building an
encampment or any other structure, or to affix an object to any tree or other natural
vegetation;

2. Move boulders or large rocks, destroy vegetation, paved roads or paths created by the
city, or otherwise reconfigure the natural landscape in the parks, waters of or along the

banks of a waterway;

3. Drive, park, or bring any vehicle along the banks of a waterway, except in places
specifically provided and designated for vehicular use;

4. Dig on the banks of a waterway; or

tn

Discharge or store waste, including garbage, refuse, or human or animal waste, along
the banks or into the waters of a waterway.

(c) Nothing in this section is intended to prohibit the activities of an owner of private property or
other lawful user of private property that are normally associated with and incidental to the
lawful and authorized use of private property; and nothing is intended to prohibit the
activities of a lawful user if such activities are expressly authorized by the City Manager or
by any law, regulation, permit, order or other directive from a regulatory authority.

Sec. 8.90.040 Storage of personal property on public and private property.
(a) It is unlawful and a public nuisance for any person to store personal property, including

camp paraphernalia, on any public property or any private property without the written
consent of the owner, except as otherwise authorized in writing by the city.

Page 4 of 8
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 59 of 62

(b) Moving personal property to another location upon public property or returning personal
property to the same block of public property on a daily basis shall be considered storing and
shall not be considered to be removing the personal property from public property. This
definition shall not include any personal property that, pursuant to statute, ordinance, permit,
regulation or other authorization by the city or state, is stored with permission of the city or
state on real property that is owned or controlled by the city.

(c) No person shall store any personal property upon public property in such a manner as to
obstruct city operations, including street or sidewalk maintenance or cleaning, or park or
landscaping maintenance, repair or irrigation. Without prior notice, the city may temporarily
move personal property, whether attended or unattended, which is obstructing city operations
upon public property during the time necessary to conduct the city operations.

(d) No person shall store any personal property upon public property in such a manner that it
does not allow for passage as required by the Americans with Disabilities Act of 1990 as
amended from time to time (ADA). Without prior notice, the city may move and may
immediately impound any personal property, whether attended or unattended, stored upon
public property in such a manner that it does not allow for passage as required by ADA.

(¢) No person shall store any personal property within ten feet of any operational and useable
entrance, exit, driveway or loading dock. Without prior notice, the city may move and may
immediately impound any personal property, whether attended or unattended, stored upon
public property within ten feet of any such area.

(f) No person shall store any personal property upon public property that has clearly posted
closure time, after the posted closure time. Without prior notice, the city may move and may
immediately impound any personal property, whether attended or unattended, stored upon
public property within ten feet of any such area.

Sec. 8.90.050 Power of the city manager to make rules and regulations.

The city manager may adopt procedures for the removal and recovery of personal property left
upon lands where camping is prohibited. Absent such procedures, personal property left upon
lands where camping is prohibited for more than twenty-four hours may be removed by the city
and may be recovered by the owner for up to ninety days.

Sec. 8.90.060 Enforcement.
(a) Any person violating this chapter shall be subject to the following penalty:
1. Temporary seizure of personal property, as set forth at Section 8.90.040 of this chapter.
2. Prior to the city pursuing the remedy set forth at subsection (a)(1) of this section, the city
shall provide the violator, orally or in writing, with information about housing support
services. Nothing in this section or this chapter shall require the city to provide housing to

such violator.

Page 5 of 8
Case 3:25-cv-02225-MMC Document® Filed 03/05/25 Page 60 of 62

(b) Notwithstanding subsection (a) of this section:

1. Any person causing, permitting, aiding, abetting or concealing a violation of this chapter
shall be guilty of a misdemeanor, and may be prosecuted as a misdemeanor and upon
conviction be subject to a fine not to exceed $1,000.00 or imprisonment in the city or
county jail for a period of not more than six months, or by both such fine and
imprisonment.

2. Any violation of this chapter may be remedied by a civil action brought by the city
attorney.

3. Violations of this chapter are hereby declared to be public nuisances subject to abatement
by the city by any lawful means, including but not limited summary abatement
procedures set forth in Chapter 8.60 of this code.

4. Any violation of this chapter is punishable as set forth in Title 1, General Provisions of
this code.

(c) The remedies set forth in this chapter shall be cumulative and in addition to any and all other
remedies, civil, equitable, or criminal, afforded to the city under the law.

(d) Nothing provided in this chapter shall create any duty on the city to enforce any specific law
or code section or abate any specific condition or circumstance which may exist. The city
shall exercise its discretion to enforce this chapter as resources permit.

(e) The timing, methods and priority of specific abatement actions shall be subject to the sole
discretion of the city manager.

SECTION 2. CEQA

The City Council determines, each on a separate and independent basis, the following sections of
Title 14 of the California Code of Regulations apply and no further environmental review is
required: (1) the California Environmental Quality Act (CEQA) Guidelines Section 15061(b)(3),
in that the ordinance does not have the potential to cause a significant effect on the environment,
and is not subject to CEQA review; (2) Furthermore, the project is exempt under CEQA
Guidelines 15183, Projects Consistent with a Community Plan or Zoning, as the ordinance is
consistent with the land use envisioned for the site as established by the General Plan for which
an Environmental Impact Report (SCH#2010082060) was previously prepared and certified, and
CEQA Guidelines Sections 15162 and 15163, as none of the circumstances requiring preparation
of a subsequent or supplemental EIR have occurred; (3) CEQA Guidelines Sections 15304 as
this ordinance is an action by the City that may result in a minor alteration to land, water, and/or
vegetation; and (4) CEQA Guidelines Sections 15307 and 15308 as this ordinance is an action by
the City for the protection of birds and other wildlife and the environment in City public lands,
parks and waterways. The Council therefore directs that a Notice of Exemption be filed with the
Alameda County Clerk in accordance with the CEQA guidelines.

Page 6 of 8
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 61 of 62

SECTION 3. SEVERABILITY

If any section, subsection, sentence, clause or phrase of this Ordinance is for any reason held by
a court of competent jurisdiction to be invalid, such a decision shall not affect the validity of the
remaining portions of this Ordinance. The City Council of the City of Fremont hereby declares
that it would have passed this Ordinance and each section or subsection, sentence, clause and
phrase thereof, irrespective of the fact that any one or more sections, subsections, sentences,
clauses or phrases be declared invalid.

SECTION 4. EFFECTIVE DATE
This Ordinance shall take effect and will be enforced thirty (30) days after its adoption.
SECTION 5. PUBLICATION AND POSTING

The City Attorney has prepared a summary of this ordinance under Government Code

Section 36933(c). The City Clerk has caused the summary to be published once in a newspaper
of general circulation printed and published in Alameda County and circulated in the City of
Fremont for at least five days before the date of adoption. A certified copy of the full text of the
ordinance was posted in the office of the City Clerk, since at least five days before this date of
adoption. Within 15 days after adoption of this ordinance, the City Clerk shall cause the
summary to be published again with the names of those City Council members voting for and
against the ordinance and shall post in the office of the City Clerk a certified copy of the full text
of this adopted ordinance with the names of those City Council members voting for and against
the ordinance.

KK

The foregoing ordinance was introduced before the City Council of the City of Fremont

at the regular meeting of the City Council, held on the day of , and finally adopted
at a regular meeting of the City Council held on the day of , by the following vote:
AYES:
NOES:
ABSENT:
ABSTAIN:

Mayor

Page 7 of 8
Case 3:25-cv-02225-MMC Document® - Filed 03/05/25 Page 62 of 62

ATTEST: APPROVED AS TO FORM:

City Clerk City Attorney

Page 8 of 8
